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                 Exhibit 14
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                                 June 21, 2022

· · · NO. X-06-UWY-CV-XX-XXXXXXX-S· ·:· SUPERIOR COURT

· · · ERICA LAFFERTY, ET AL.· · · · ·:· COMPLEX LITIGATION
· · · · · · · · · · · · · · · · · · · · · ·DOCKET
· · · · · · · · · · · · · · · · · · ·:

· · · V.· · · · · · · · · · · · · · ·:· AT WATERBURY

· · · ALEX EMRIC JONES, ET AL.· · · ·:· OCTOBER 21, 2021

· · · _____________________________________________________
· · · NO. X-06-UWY-CV-XX-XXXXXXX-S· ·:· SUPERIOR COURT
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· · · WILLIAM SHERLACH· · · · · · · ·:· COMPLEX LITIGATION
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· · · V.· · · · · · · · · · · · · · ·:· AT WATERBURY
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· · · ALEX EMRIC JONES, ET AL.· · · ·:· OCTOBER 21, 2021
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· · · NO. X-06-UWY-CV-XX-XXXXXXX-S· ·:· SUPERIOR COURT
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· · · WILLIAM SHERLACH, ET AL,· · · ·:· COMPLEX LITIGATION
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· · · ALEX EMRIC JONES, ET AL.· · · ·:· OCTOBER 21, 2021
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· · · · · · · · · · ORAL AND VIDEOTAPED DEPOSITION

· · · · · · · · · · · · APPEARING REMOTELY FROM

· · · · · · · · · · · · · · ·AUSTIN, TEXAS

· · · · · · · · · · · · · · · ALEX JONES

· · · · · · · · · · · · · · ·JUNE 21, 2022

· · · · · · · · ***************************************

· · · · · · · · · · · · · ·V O L U M E· III


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                                                  Page 759                                                        Page 761
·1· · · · ·ANSWERS AND ORAL DEPOSITION OF ALEX JONES, a        ·1· · · · · · · · · T A B L E· O F· C O N T E N T S

·2· · witness produced at the instance of the Plaintiff, was   ·2· · · · · · · · · · · · · · · · · · · · · · · · · PAGE

·3· · taken in the above-styled and numbered cause on the      ·3· · APPEARANCES· . . . . . . . . . . . . . .· · · 760
·4· · 21ST day of JUNE 2022, from 9:11 a.m. to 3:13 p.m.,      ·4· · ALEX JONES

·5· · before VANESSA S. ROBERTSON, CSR in and for the State    ·5· · · · ·EXAMINATION BY MR. CERAME . . . . .· · · 763

·6· · of Texas, reported by machine shorthand, appearing       ·6· · · · ·EXAMINATION BY MR. MATTEI . . . . .· · · 773

·7· · remotely from Parker County, Texas, pursuant to the      ·7· · SIGNATURE AND CHANGES· . . . . . . . . .· · · 890

·8· · Texas Federal Rules of Civil Procedure.                  ·8· · REPORTER'S CERTIFICATE . . . . . . . . .· · · 892
·9                                                             ·9· · · · · · · · · · · · · · · ·* * *

10                                                             10· · · · · · · · · · · · · E X H I B I T S

11                                                             11· · · · · · · · · · · DESCRIPTION· · · · · · · · · PAGE

12                                                             12· · Exhibit 179· · Deposition Notice· · · · · · · · 881
13                                                             13· · (Provided electronically to the reporter.)

14                                                             14

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·1· · REMOTE APPEARANCES:                                      ·1· · · · · · REPORTED REMOTELY FROM PARKER COUNTY, TEXAS
·2
· · · FOR THE PLAINTIFF:                                       ·2· · · · · · · · · · · ·P R O C E E D I N G S
·3                                                             ·3· · · · · · · · · · · · THE VIDEOGRAPHER:· Today's date is
· · · · · ·MR. CHRISTOPHER M. MATTEI
·4· · · · ·MS. ALINOR STERLING                                 ·4· · June 21st, 2022.· We are on the record at approximately
· · · · · ·MS. JESSICA HARTMAN                                 ·5· · 9:11 a.m. Central Time, in the deposition of Alex
·5· · · · ·KOSKOFF KOSKOFF & BIEDER, PC
· · · · · ·350 FAIRFIELD AVENUE                                ·6· · Jones.· The witness is located at Fibercove, 1700 South
·6· · · · ·BRIDGEPORT, CONNECTICUT 06604                       ·7· · Lamar Boulevard, Austin, Texas.· And this proceeding is
· · · · · ·(203) 336-4421
·7· · · · ·cmattei@koskoff.com                                 ·8· · being held remotely via Zoom.
·8· · FOR THE DEFENDANT:
                                                               ·9· · · · · · · · · · · · Will all counsel please introduce
·9· · · · ·MR. CAMERON ATKINSON
· · · · · ·PATTIS & SMITH LLC                                  10· · yourselves for the record, after which, the court
10· · · · ·383 ORANGE STREET
                                                               11· · reporter will swear in the witness.
· · · · · ·FIRST FLOOR
11· · · · ·NEW HAVEN, CONNECTICUT 06511                        12· · · · · · · · · · · · MR. MATTEI:· Good morning.· This is
· · · · · ·(203) 393-3017
                                                               13· · Chris Mattei on behalf of the plaintiffs.
12· · · · ·catkinson@pattisandsmith.com
13· · FOR THE DEFENDANT:                                       14· · · · · · · · · · · · MR. ATKINSON:· Good morning.· This
14· · · · ·MR. MARIO KENNETH CERAME
· · · · · ·BRIGNOLE & BUSH, LLC
                                                               15· · is Cameron Atkinson on behalf of Alex Jones and Free
15· · · · ·73 WADSWORTH STREET                                 16· · Speech Systems.
· · · · · ·HARTFORD, CONNECTICUT 06106
16· · · · ·(860) 527-9973
                                                               17· · · · · · · · · · · · MR. CERAME:· Good morning.· This is
· · · · · ·mario@brignole.com                                  18· · Mario Cerame for Genesis Communication Network,
17
18
                                                               19· · Incorporated.
· · · ALSO PRESENT:                                            20· · · · · · · · · · · · MS. STERLING:· Good morning.· This
19
· · · · · ·MR. MARK HENDRIX, VIDEOGRAPHER
                                                               21· · is Alinor Sterling, also for the plaintiffs.
20                                                             22· · · · · · · · · · · · THE COURT REPORTER:· My name is
21
22
                                                               23· · Vanessa Robertson, Texas CSR No. 4930.· I am reporting
23                                                             24· · the deposition remotely by stenographic means from
24
25
                                                               25· · Weatherford, Texas.· The witness is located in Austin,


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·1· · Texas.                                                     ·1· · so I began to try to, in a friendly way, end the
·2· · · · · · · · · · · · · · ALEX JONES,                        ·2· · relationship really by about 2013, trying to
·3· · having being first duly sworn, testified as follows:       ·3· · disentangle, but Ted wanted to be still -- still be
·4· · · · · · · · · · · · MR. CERAME:· Okay.· Are we all set?    ·4· · associated with him some.· And so it was a
·5· · Anybody else need to do any other affirmations or          ·5· · disentanglement that happened but it took several
·6· · anything?                                                  ·6· · years, but by 2016, we were basically unentangled.
·7· · · · · · · · · · · · THE COURT REPORTER:· No.               ·7· · · · ·Q· · So I should mention another business of Ted's,
·8· · · · · · · · · · · · MR. CERAME:· Speak now or forever      ·8· · Midas Resources.· You're familiar with that business as
·9· · hold your peace.                                           ·9· · well?
10· · · · · · · · ·* * * E X A M I N A T I O N * * *             10· · · · ·A· · That's the gold and silver company, that's
11· · BY MR. CERAME:                                             11· · where I originally had the relationship.
12· · · · ·Q· · Hello, Mr. Jones.· Good morning.                 12· · · · ·Q· · Okay.· Okay.· And then when did your
13· · · · ·A· · Good morning.                                    13· · relationship, if you recall, relative to Genesis start?
14· · · · ·Q· · My name is Mario Cerame.· You and I have met     14· · And when I say you, I mean you or one of the companies
15· · before.· And I have some questions, mostly about Ted       15· · that you are responsible for.
16· · Anderson and Genesis Communication Network.· And when I    16· · · · ·A· · I don't have the exact dates, but I think it
17· · say -- sometimes I'm going to refer to Ted, and that       17· · was around -- it wasn't around.· It was -- I think he
18· · means Ted Anderson.· Sometimes I'm going to refer to       18· · started GCN in '99, and he wanted me to do a show with
19· · Genesis and that means Genesis Communication Network,      19· · him in -- maybe it was '98 or '99, whenever he started
20· · Incorporated.                                              20· · GCN, I started do a separate show, not just my show out
21· · · · · · · · · · · · And you're familiar with both of       21· · of Austin, but I started doing a show syndicated out of
22· · these entities and person, right?                          22· · his offices in St. Paul, I believe, St. Paul.· And so
23· · · · ·A· · Yes.                                             23· · '98, '99 --
24· · · · ·Q· · All right.· And I don't have a ton of            24· · · · ·Q· · Okay.
25· · questions, but I do have some.· And first, I want to       25· · · · ·A· · -- ish is when he got into radio

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·1· · talk about how you came to know Ted, just generally, in    ·1· · syndication.
·2· · terms of history.· If that is an extremely long answer,    ·2· · · · ·Q· · Right.· Right.· And by way of Genesis.· And I
·3· · then I'll interrupt you and redirect you.· But just,       ·3· · appreciate you saying you don't remember the exact
·4· · generally speaking, how did you come to meet Ted?          ·4· · date.· I don't expect you to remember exact dates for
·5· · · · ·A· · In about 1997, he was a sponsor or a gold        ·5· · any of my questions, but to the extent you can
·6· · sponsor of a small radio network called Public             ·6· · remember, generally speaking, the date, just say I
·7· · Broadcasting out of Michigan.· And he was based in         ·7· · don't remember exactly when, but it was about, that's
·8· · Minnesota.· He had a gold company, a gold and silver,      ·8· · perfectly fine in terms of answering our questions.
·9· · precious metals company and he was a sponsor on that       ·9· · · · ·A· · Yeah, absolutely.
10· · network and he became a sponsor of mine.                   10· · · · ·Q· · I just want to make sure you understand --
11· · · · ·Q· · Okay.· And how long did that sponsorship         11· · · · ·A· · Ted -- Ted will have all of the records of
12· · relationship last about?                                   12· · that.· I've not reviewed them.
13· · · · ·A· · Until about -- until about eight years ago,      13· · · · ·Q· · That's fine.· That's fine.· And let's talk
14· · nine years ago.                                            14· · about where your -- where the business relationship lay
15· · · · ·Q· · All right.· So we're talking about 2016-ish is   15· · about 2009 between Midas and Ted and Genesis and your
16· · when your -- your radio station -- your radio -- or I      16· · businesses and you.· So did you have Ted Anderson come
17· · should say -- strike that.                                 17· · onto your radio show around that time?
18· · · · · · · · · · · · Until about 2016, sometime             18· · · · ·A· · Yes.
19· · thereabouts, give or take a year, your businesses          19· · · · ·Q· · Okay.· And what -- for what purpose did you
20· · relationship with Ted Anderson's businesses ended?         20· · have -- why did Ted come onto your radio station?
21· · · · ·A· · Again, there's no general dates.· The gold       21· · · · ·A· · He came on the show to promote and sell
22· · market collapsed, whenever that was, 2013, '14 or so,      22· · precious metals and also books and films.
23· · and so he stopped advertising.· And then a few years       23· · · · ·Q· · Do you remember when he -- do you remember
24· · later, he shut his business down.· And so that had         24· · when about he stopped coming onto your radio show?
25· · always been the main funding of the relationship.· And     25· · · · ·A· · I mean, we were still friendly.· He still came


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·1· · on a few times a year just to talk about stuff in the     ·1· · · · ·A· · Zero.
·2· · financial markets, even though he wasn't a sponsor, up    ·2· · · · ·Q· · Okay.· To what extent, if ever, did Ted
·3· · until -- I mean, he's been on the last few years, so it   ·3· · Anderson or Genesis exercise editorial control over
·4· · never stopped.· But the gold sponsorship stopped 2013,    ·4· · your radio shows, to the extent you can remember?
·5· · '14, something like that, because he was -- he was        ·5· · · · ·A· · In 2001, the syndication manager, Michael
·6· · becoming insolvent in the gold and silver company and     ·6· · Trudeau {phonetic}, who worked there, attempted to
·7· · was not paying me.                                        ·7· · exercise editorial control, something Ted wasn't doing
·8· · · · · · · · · · · · I think by the end he had like a      ·8· · over any of the shows, because Ted acted as a
·9· · $700,000 bill that was racked up over a year.· I forget   ·9· · syndicator platform, just like you can call up yourself
10· · the exact year, 2013.· It was 2013.· And then he was      10· · and rent time on any satellite you wish they don't have
11· · still paying me some for the radio show, I was still      11· · control.
12· · employed there, but that was not substantial enough for   12· · · · · · · · · · · · And then Ted explained to him that
13· · me to keep my show over there.· And so that's when I --   13· · he was over advertising and working with the networks
14· · when we started disentanglement.                          14· · or platforms that were paying inside the -- and that
15· · · · ·Q· · I got it.· I follow.· I appreciate your         15· · they were a syndication platform not -- not, you know,
16· · clarification.· Did you ever have him come on your show   16· · a publishing or a managerial control.· And then that
17· · to comment about any news or topics besides the gold      17· · was being done because I was questioning 9/11.· And so
18· · and silver markets --                                     18· · we lost most of our affiliates.
19· · · · ·A· · No.                                             19· · · · · · · · · · · · And so Trudeau tried to come in and
20· · · · ·Q· · -- or precious metals generally?                20· · talk some, quote, sense into me to get me to stop
21· · · · ·A· · No.                                             21· · saying it.· And Ted said we don't exercise editorial
22· · · · ·Q· · Okay.                                           22· · control.· If he wants to lose most of the radio
23· · · · ·A· · He would come on and sell like -- or had free   23· · stations, he can.· That's -- that's up to him.· And so
24· · booklets and sell books.· He would like to preach about   24· · that was the extent to any editorial control that was
25· · the Federal Reserve Monetary Policy.· He would come on    25· · ever attempted to be exercised, was in 2001.

                                                   Page 768                                                        Page 770
·1· · and sell films, DVDs, books, and then that was -- he'd    ·1· · · · ·Q· · Aside from that instance in 2000 -- in the
·2· · put a pamphlet in it that was a promotional pamphlet.     ·2· · early 2000's that you described relative to 9/11
·3· · We also did mailers for Ted where he would pay us to      ·3· · issues, when -- is it my -- is it correct to say that
·4· · put a sales brochure in all of our orders.· And again,    ·4· · Genesis Communication Network and Ted Anderson have
·5· · that happened -- that stopped happening by about 2013,    ·5· · never exercised editorial control over any of your --
·6· · '14.                                                      ·6· · any of your broadcasts or any of the broadcasts by one
·7· · · · ·Q· · Okay.· And to the extent you can recall, the    ·7· · of your companies?
·8· · pamphlets, the books, the materials that the media that   ·8· · · · ·A· · Zero editorial control.
·9· · you're talking about, that was -- concerned financials    ·9· · · · ·Q· · Okay.· To what extent was there discussions --
10· · and gold and silver?                                      10· · aside from the 9/11 issues, to what extent was there
11· · · · ·A· · Yes.                                            11· · ever discussions about content that should be
12· · · · ·Q· · And precious metals generally?                  12· · broadcast, and aside from anything about precious
13· · · · ·A· · Yes, sir.                                       13· · metals, right, when you had him come on, to what extent
14· · · · ·Q· · Okay.· To what extent, if at all, do you have   14· · was there ever a discussion about the content of news
15· · a shared ownership interest or did you have a shared      15· · coverage on any of your -- any of your broadcasts or
16· · ownership interest in Midas, if at all?                   16· · broadcasts of any of your companies?
17· · · · ·A· · I never had any ownership, management or        17· · · · ·A· · No, zero.· It was all complete, direct
18· · anything or employment in Midas Resources.                18· · infomercial or for a segment on the show, we would come
19· · · · ·Q· · Okay.· To what extent -- to the extent that     19· · in and say, here's our sponsor, here's their products.
20· · you know, what financial interest did Ted have in Free    20· · We didn't do product placement.· There was no
21· · Speech Systems?                                           21· · connection to the news that we were reporting into that
22· · · · ·A· · Zero.                                           22· · of a sponsor.· It was just direct, clear-cut
23· · · · ·Q· · Okay.· To what extent that you know, did Ted    23· · sponsorship.
24· · Anderson have a financial interest in any of the LLCs     24· · · · ·Q· · Okay.· You never cord -- your people, you and
25· · that were formerly defendants in this case?               25· · your companies, never coordinated with Genesis


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·1· · Communication Network vis-a-vis the content, aside from    ·1· · BY MR. MATTEI:
·2· · the Midas Resources content relative to gold and           ·2· · · · ·Q· · Mr. Jones, I have some questions for you.
·3· · silver.· There was never any collaborations as to what     ·3· · First of all, I understand that you were recently
·4· · would be broadcast?                                        ·4· · traveling; is that correct?
·5· · · · ·A· · No, the extent would be --                       ·5· · · · ·A· · Yes.
·6· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·6· · · · ·Q· · Are you aware that your deposition was
·7· · You can answer, Mr. Jones.· You can -- you can answer,     ·7· · originally scheduled for last week, but it was
·8· · Mr. Jones.                                                 ·8· · postponed until this week in order to accommodate your
·9· · · · ·A· · Okay.· I mean, the extent would be hey, gold's   ·9· · travel plans?
10· · going up right now, we think -- we think it's -- or        10· · · · ·A· · Yes.
11· · hey, we got a bunch of coins at a great deal.· We ought    11· · · · ·Q· · Where were you traveling, sir?
12· · to pitch these silver dollars.· Can we come on?· Or        12· · · · ·A· · I was traveling to Hawaii.
13· · hey, I just bought 20,000 of this book, it's a hot         13· · · · ·Q· · Okay.· When did you leave for Hawaii?
14· · book, can we come and pitch it.· That's it.                14· · · · ·A· · The 7th.
15· · · · ·Q· · (By Mr. Cerame)· Okay.· And you have no          15· · · · ·Q· · And this was for personal vacation?
16· · recollection of any collaboration vis-a-vis the            16· · · · ·A· · That, and some work.
17· · coverage of Sandy Hook between your companies and you      17· · · · ·Q· · Okay.· Who accompanied you?
18· · or Ted Anderson and his companies?                         18· · · · ·A· · My wife and child.
19· · · · ·A· · Zero.                                            19· · · · ·Q· · Anybody else?
20· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      20· · · · ·A· · My assistant.
21· · You can answer, Mr. Jones.                                 21· · · · ·Q· · Okay.
22· · · · ·A· · Zero.· Absolutely never discussed Sandy          22· · · · ·A· · Assistant.
23· · Hook.                                                      23· · · · ·Q· · Who is your assistant?
24· · · · ·Q· · (By Mr. Cerame)· Okay.· So we talked about --    24· · · · ·A· · It was Dustin Wright.
25· · just briefly, we talked about some of the potential        25· · · · ·Q· · Mr. Wright, an employee of Free Speech

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·1· · business interests Ted Anderson had -- you said that he    ·1· · Systems?
·2· · had no interest in any of the co-defendants in this        ·2· · · · ·A· · No, he works for a security company.
·3· · case, the co-defendant companies in this case, right?      ·3· · · · ·Q· · Did Dustin Wright accompany you to your
·4· · · · ·A· · No, no -- no interest that I know of.            ·4· · deposition in Connecticut?
·5· · · · ·Q· · And to your -- to the best of your knowledge,    ·5· · · · ·A· · I don't remember.
·6· · he has no interest in the LLC known as PQPR, correct?      ·6· · · · ·Q· · When did you return from Hawaii?
·7· · · · ·A· · No.                                              ·7· · · · ·A· · Yesterday.
·8· · · · ·Q· · Same with JLJR, right, he had no interest in     ·8· · · · ·Q· · Did you fly commercial or private?
·9· · that company?                                              ·9· · · · ·A· · I flew commercial.
10· · · · ·A· · No.                                              10· · · · ·Q· · Where did you stay in Hawaii?
11· · · · ·Q· · Or PLJR, he had no interest in that company,     11· · · · ·A· · In Kauai.
12· · to the best of your knowledge?                             12· · · · ·Q· · Was it a resort or a rental?
13· · · · ·A· · No.                                              13· · · · ·A· · I stayed at the Marriott.
14· · · · ·Q· · Or AEG Holdings [sic], either that or the        14· · · · ·Q· · And so the only people who accompanied you on
15· · trust, Ted Anderson or his companies have no interest      15· · that trip were your wife, your child, and that I assume
16· · in those, to the best of your knowledge?                   16· · to be, your youngest daughter?
17· · · · ·A· · No interest.                                     17· · · · ·A· · Yes.
18· · · · ·Q· · Okay.· Very good.                                18· · · · ·Q· · And Mr. Wright, nobody else, correct?
19· · · · · · · · · · · · MR. CERAME:· Mr. Jones, I appreciate   19· · · · ·A· · I guess a nanny went, that's right, a nanny
20· · you being direct and candid with my questions.· In         20· · went.
21· · light of some of the discussions I've had with your        21· · · · ·Q· · Anybody else?
22· · team and with you, I really -- I have no further           22· · · · ·A· · No.
23· · questions for you.                                         23· · · · ·Q· · You paid for that trip personally?
24· · · · · · · · · · · · THE WITNESS:· Thank you.               24· · · · ·A· · I'm paying for it personally.
25· · · · · · · · ·* * * E X A M I N A T I O N * * *             25· · · · ·Q· · Okay.· In other words, you didn't use Free


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·1· · Speech Systems' resources to pay for that trip, it was    ·1· · that also, like making people, you know, wait on the
·2· · your own personal money?                                  ·2· · tarmac while other planes were moving around, things
·3· · · · ·A· · I don't know how we booked it.                  ·3· · like that.
·4· · · · ·Q· · Okay.· Well then, how do you know that you      ·4· · · · ·Q· · Okay.· I guess what I'm asking you, was your
·5· · paid for it personally?                                   ·5· · return delayed in any way as a result of travel
·6· · · · ·A· · Well, because -- I mean, I don't have it in     ·6· · difficulties or did you return on the day that you
·7· · front of me, but I would imagine I'm paying for it        ·7· · planned to return?
·8· · personally.                                               ·8· · · · ·A· · I did return on the day I planned to return.
·9· · · · ·Q· · Okay.· Who is responsible for making those      ·9· · · · ·Q· · Since your deposition, sir, you arranged for
10· · arrangements?                                             10· · three of your companies to seek bankruptcy protection,
11· · · · ·A· · I really -- I really don't know.· My wife       11· · correct?
12· · wanted to go, she said that a long time ago.              12· · · · ·A· · Yes.
13· · · · ·Q· · Your wife set up the trip?                      13· · · · ·Q· · Those were Infowars, LLC; Infowars Health,
14· · · · ·A· · I believe she --                                14· · LLC; and Prison Planet TV, LLC, correct?
15· · · · · · · · · · · · MR. ATKINSON:· Objection to form.     15· · · · ·A· · Yes.
16· · You can answer.                                           16· · · · ·Q· · And at the time that you sought bankruptcy
17· · · · ·A· · I mean, look, you can ask me what I had for     17· · protection for those companies, you had 100 ownership
18· · breakfast, whether I could probably remember for ya,      18· · interest in each of them, correct?
19· · but I mean, like...                                       19· · · · ·A· · I believe so.
20· · · · ·Q· · (By Mr. Mattei)· My question, though,           20· · · · ·Q· · And each of those companies had, at the time
21· · Mr. Jones is just, did your wife set up the trip?         21· · you filed, had -- well, let's take one at a time.
22· · · · ·A· · I think she was involved in it.                 22· · · · · · · · · · · · At the time you filed, did Infowars,
23· · · · ·Q· · Okay.· And your testimony is that you don't     23· · LLC have any assets of any kind?
24· · know whether Free Speech Systems' money or your own       24· · · · ·A· · Yes, Infowars.
25· · personal money was used to fund the trip?                 25· · · · ·Q· · Infowars, LLC had assets, what assets did it

                                                   Page 776                                                        Page 778
·1· · · · ·A· · Yes.                                            ·1· · have?
·2· · · · ·Q· · Who would know that?                            ·2· · · · ·A· · Infowars, the website.
·3· · · · ·A· · I'd have to check.                              ·3· · · · ·Q· · Okay.· Infowars.com?
·4· · · · ·Q· · Okay.· You said that the trip also had some     ·4· · · · ·A· · Yes.
·5· · work purposes.· What work purposes did the trip have?     ·5· · · · ·Q· · Your testimony is that at the time you filed
·6· · · · ·A· · Just research on the economy and just observe   ·6· · for bankruptcy, Infowars.com was owned by Infowars,
·7· · what's going on in the -- in the rest of the country.     ·7· · LLC, correct?
·8· · · · ·Q· · Did you go anywhere else besides Hawaii?        ·8· · · · ·A· · I'm not a business person and -- that's my
·9· · · · ·A· · No.                                             ·9· · understanding, yes.
10· · · · ·Q· · Okay.                                           10· · · · ·Q· · Well, you are a business person.· You own
11· · · · ·A· · Well, I mean, technically we landed in Los      11· · several businesses, correct?
12· · Angeles and landed in Phoenix, so I guess I went there,   12· · · · ·A· · Well, I mean, I don't have all of the
13· · too.                                                      13· · technicals, but that is my understanding --
14· · · · ·Q· · Okay.· You had layovers there, correct?         14· · · · ·Q· · Okay.
15· · · · ·A· · Yes, Los Angeles LAX on the way there and       15· · · · ·A· · -- of the -- that -- uh-huh.
16· · Phoenix, Arizona on the way back.                         16· · · · ·Q· · Your understanding is that at the time you
17· · · · ·Q· · And the research you did on the economy and     17· · filed for bankruptcy, Infowars, LLC owned Infowars.com,
18· · what's going on, was research you did in Hawaii?          18· · correct?
19· · · · ·A· · Yes, and I recorded some shows there and --     19· · · · ·A· · My understanding, the way it has been
20· · and reports off of what I observed.                       20· · explained to me, is it controlled it.
21· · · · ·Q· · Did you have any travel difficulties?           21· · · · ·Q· · Okay.· Who or what owns the website
22· · · · ·A· · There was some, some delays and stuff that's    22· · Infowars.com?
23· · been in the news, not -- not much of it.                  23· · · · ·A· · I believe that -- that corporation.
24· · · · ·Q· · Your flight was delayed?                        24· · · · ·Q· · Okay.· So I want to show -- you know who
25· · · · ·A· · There was -- yeah, there was some things like   25· · Michael Zimmerman is, correct?


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·1· · · · ·A· · Yes.                                             ·1· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·2· · · · ·Q· · Michael Zimmerman was a former employee of       ·2· · You can answer.
·3· · Free Speech Systems, correct?                              ·3· · · · ·A· · I mean, I did see that.
·4· · · · ·A· · Yes.                                             ·4· · · · ·Q· · (By Mr. Mattei)· Thank you.· And as of June
·5· · · · ·Q· · And he still does contract work for Free         ·5· · 2021, you have no reason to think that that testimony
·6· · Speech Systems, correct?                                   ·6· · was inaccurate, correct?
·7· · · · ·A· · Yes.                                             ·7· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·8· · · · ·Q· · And you authorized him to testify on behalf of   ·8· · You can answer.
·9· · Free Speech Systems; Infowars, LLC; Infowars Health,       ·9· · · · ·A· · I don't know.· I mean, I don't think he would
10· · LLC; and Prison Planet TV, LLC in this case, correct?      10· · purposefully be wrong on purpose about something, but
11· · · · ·A· · I believe so, yes.                               11· · it -- I'm confused by it, so...
12· · · · ·Q· · All right.· I'm going to show you what's been    12· · · · ·Q· · (By Mr. Mattei)· Okay.· Well, what confuses
13· · marked as Exhibit No. 188.· And can you see what I've      13· · you, Mr. Jones?
14· · brought up for you, Mr. Jones?                             14· · · · ·A· · I mean, I think I was pretty clear that --
15· · · · ·A· · Yes.                                             15· · that to my understanding, but again, I'm wrong about a
16· · · · ·Q· · It is a transcript of a deposition given on      16· · lot of this stuff, because quite frankly, I don't keep
17· · June 24th, 2021 of Free Speech Systems, LLC provided by    17· · track of a lot of it, that -- I mean, I think you guys
18· · Michael Zimmerman.· Do you see that?                       18· · know that and that's why you sued it.
19· · · · ·A· · Yes.                                             19· · · · ·Q· · Mr. Jones, I just asked you what you're
20· · · · ·Q· · Okay.· I'm going to go to Page 92 of that        20· · confused about?
21· · deposition.· Do you see here at Line 14, Mr. Zimmerman     21· · · · ·A· · I'm confused -- whether Zimmerman was mistaken
22· · is asked on behalf of Free Speech Systems, I would like    22· · or whether I'm right or whether I was mistaken, because
23· · to review the websites that are owned by Free Speech       23· · I told you what -- to the best of my knowledge what I
24· · Systems.· Am I correct that Free Speech Systems owns       24· · know.
25· · Infowars.com?· He testified, That's correct.· Do you       25· · · · ·Q· · And it's possible that may both be right,

                                                   Page 780                                                         Page 782
·1· · see that?                                                  ·1· · right?· I mean, Mr. Zimmerman testified in June 2021
·2· · · · ·A· · I do.                                            ·2· · that Free Speech Systems owned the website
·3· · · · ·Q· · Okay.· And so you see that in June of 2021,      ·3· · Infowars.com.· You've testified here today that as of
·4· · your company, Free Speech Systems, provided sworn          ·4· · the filing of your bankruptcy, you believed
·5· · testimony that it owned Infowars.com, correct?             ·5· · Infowars.com was owned by Infowars, LLC.
·6· · · · ·A· · I mean, I haven't read this before.· You guys    ·6· · · · · · · · · · · · And so I'm asking you now, whether
·7· · interview everybody and just try to confuse everybody.     ·7· · you have any knowledge of Infowars, LLC acquiring the
·8· · I told you what I believe.· I -- I don't really keep       ·8· · website Infowars.com from Free Speech Systems?
·9· · track of it all.                                           ·9· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
10· · · · · · · · · · · · But I'm told that -- I mean, I think   10· · You can answer.
11· · when people say Infowars, they mean, in general, or        11· · · · ·A· · I don't understand -- I mean, I can't
12· · they say in, you know, like Free Speech Systems.· But I    12· · speculate.
13· · mean, that's -- that's -- I mean, you can -- I mean,       13· · · · ·Q· · (By Mr. Mattei)· Well, Mr. Jones, you're the
14· · I'm sure you guys have those documents and things.· So     14· · 100 percent owner of Free Speech Systems, correct?
15· · as far as I know, that's -- I mean, it's like -- you       15· · · · ·A· · Yes.
16· · know, it's like PrisonPlant.TV has its own corporation,    16· · · · ·Q· · Okay.· And prior to the bankruptcy, you were
17· · which is the PrisonPlanet.com, LLC, so you can -- so       17· · the 100 percent owner of Infowars, LLC, correct?
18· · I'm just confused.                                         18· · · · ·A· · I think so.
19· · · · ·Q· · Well, the only question I asked you was,         19· · · · ·Q· · And so I'm asking you, whether one company
20· · whether having looked at that transcript, that you         20· · that you had 100 ownership interest of, Infowars, LLC,
21· · understand that your company, Free Speech Systems,         21· · acquired from Free Speech Systems, the website
22· · through Michael Zimmerman, testified in June of 2021       22· · Infowars.com after June of 2021?
23· · that Free Speech Systems owned Infowars.com, you saw       23· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
24· · that, correct?                                             24· · You can answer.
25· · · · ·A· · Yes.                                             25· · · · ·A· · I -- I'm confused.· I can't answer your


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·1· · question accurately.                                       ·1· · business stuff, why did you designate him to testify on
·2· · · · ·Q· · (By Mr. Mattei)· So you don't know which of      ·2· · behalf of Free Speech Systems?
·3· · your companies owns the website Infowars.com, is that      ·3· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·4· · what you're saying?                                        ·4· · You can answer.
·5· · · · ·A· · I'm saying I'm confused by what you're           ·5· · · · ·A· · Look, I'm just -- again, I'm confused by that
·6· · saying.                                                    ·6· · question as well.
·7· · · · ·Q· · Okay.· Let me ask you this question again.· Do   ·7· · · · ·Q· · (By Mr. Mattei)· Okay.
·8· · you know which of your companies, if any, owns the         ·8· · · · ·A· · I mean, you act like I'm IBM executive or
·9· · website Infowars.com?                                      ·9· · something.· I'm a guy that has a radio TV show that
10· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      10· · start my own grass roots thing.
11· · · · ·A· · I believe --                                     11· · · · ·Q· · Mr. Jones, I'm asking you as the owner of
12· · · · · · · · · · · · MR. ATKINSON:· You can answer.         12· · several companies, including companies that have been
13· · · · ·A· · I believe Infowars, LLC, since it got set up,    13· · sued here, you have been -- you have authorized
14· · like, 12 or 13 years ago, whatever it was.· But I'm        14· · individuals to testify on behalf of your companies,
15· · just confused.                                             15· · including Mr. Zimmerman, correct?
16· · · · ·Q· · (By Mr. Mattei)· Let me ask this, since June     16· · · · ·A· · Yes.
17· · of 2021, have you authorized the sale or acquisition of    17· · · · ·Q· · Okay.· So the question I'm asking you is,
18· · the website Infowars.com?                                  18· · based on your earlier answer that Mr. Zimmerman is more
19· · · · ·A· · I don't have any knowledge of that, no.          19· · of an IT guy and not really into the business, why did
20· · Again, I'm confused.                                       20· · you designate him to testify on behalf of Free Speech
21· · · · ·Q· · Mr. Jones, you keep saying that you're           21· · Systems?
22· · confused, but I just asked you a very simple question,     22· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
23· · which is, whether or not you have any knowledge of         23· · You can answer.
24· · whether you authorized the sale or acquisition of the      24· · · · ·A· · Basically because the lawyers thought he -- by
25· · website Infowars.com since June of 2021?                   25· · talking to him, knew the most general knowledge because

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·1· · · · · · · · · · · · MR. ATKINSON:· Objection --            ·1· · they asked all sorts of different -- all sorts of
·2· · · · ·A· · No, I don't have knowledge --                    ·2· · different questions, and not really one person has all
·3· · · · · · · · · · · · MR. ATKINSON:· Mr. Jones, objection.   ·3· · of those answers.
·4· · Chris, he's answered I don't know how many times that      ·4· · · · ·Q· · (By Mr. Mattei)· And so you -- so in
·5· · he doesn't know.· I think he's given you a fair answer     ·5· · retrospect, you're saying perhaps he wasn't the best
·6· · at this point.                                             ·6· · person to testify about the business operations of Free
·7· · · · · · · · · · · · MR. MATTEI:· What I'm trying to get    ·7· · Speech Systems?
·8· · at is the source of his confusion, because he seems to     ·8· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·9· · be qualifying his answers by saying I'm confused.          ·9· · You can answer.
10· · · · ·Q· · (By Mr. Mattei)· So I just want to make sure     10· · · · ·A· · You know, quite frankly, I just -- this whole
11· · that on this particular issue, if there's anything         11· · thing is just a big mess.· I can't even keep track of
12· · confusing to you, Mr. Jones, I want to clear it up,        12· · it.
13· · okay, on the question of, whether or not you authorized    13· · · · ·Q· · (By Mr. Mattei)· Okay.· Just give me a moment,
14· · the sale or acquisition of the website Infowars.com        14· · please.· Mr. Jones, I'm going to show you -- well,
15· · since June of 2021.· Do you know whether you did or you    15· · before I do this.
16· · did not?                                                   16· · · · · · · · · · · · So in April of 2022 is when you
17· · · · ·A· · I do not believe that I've done anything like    17· · caused three of your companies that are defendants in
18· · that.· My confusion stems from Michael Zimmerman's         18· · this case to seek bankruptcy protection, correct?
19· · answer versus what I believe to be true.· That is the      19· · · · ·A· · I believe so.
20· · source of the confusion.· Michael is a smart guy, but      20· · · · ·Q· · Okay.· And you were contemplating doing that
21· · he's not really huge in the whole business end of          21· · at the time of your deposition, correct?
22· · things, more like IT stuff.· And so I -- I'm confused.     22· · · · ·A· · Which deposition?
23· · When I'm done with this deposition today, I'm going to     23· · · · ·Q· · The deposition I took when you were in
24· · try to find out exactly what you're talking about.         24· · Connecticut?
25· · · · ·Q· · If Mr. Zimmerman really wasn't into the          25· · · · ·A· · I think we were.


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·1· · · · ·Q· · Okay.· Now, I want to show you Exhibit 179.      ·1· · correct?
·2· · And let me ask you, Mr. Jones, is it -- is it easier       ·2· · · · ·A· · I guess you mean over the phone as a meeting?
·3· · for you to see this document if I scroll one page or if    ·3· · I think I talked to him on the phone some, but since
·4· · I scroll two pages?                                        ·4· · then, I've met with him in person.
·5· · · · ·A· · Just do one page at a time.                      ·5· · · · ·Q· · Okay.· And according to Mr. Schwartz, if you
·6· · · · ·Q· · Okay.· Do you see a document I've put up for     ·6· · look at Paragraph 8, he said, I have learned that the
·7· · you called Voluntary Petition for Non-Individuals          ·7· · debtors have no purpose other than to hold assets which
·8· · Filing for Bankruptcy?                                     ·8· · may be used by other entities.· Do you see that?
·9· · · · ·A· · Yes.                                             ·9· · · · ·A· · Yes.
10· · · · ·Q· · Okay.· And it lists your company, InfoW, LLC     10· · · · ·Q· · They undertake no business activities.· They
11· · as the debtor, correct?                                    11· · do not sell, rent or lease to others anything.· Do you
12· · · · ·A· · Yes.                                             12· · see that?
13· · · · ·Q· · And it indicates that its prior name had been    13· · · · ·A· · Yes.
14· · Infowars, LLC, correct?                                    14· · · · ·Q· · He says, Their assets do not generate any
15· · · · ·A· · Yes.                                             15· · income for them.· Do you see that?
16· · · · ·Q· · So you essentially changed the name of           16· · · · ·A· · Yes.
17· · Infowars, LLC for purposes of filing for bankruptcy,       17· · · · ·Q· · They have no bank accounts and do not pay
18· · correct?                                                   18· · money to anyone for any reason.· Do you see that?
19· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      19· · · · ·A· · Yes.
20· · You can answer.                                            20· · · · ·Q· · They have no debt or other liabilities other
21· · · · ·A· · This was done on the legal advice by lawyers.    21· · than those related to pending or potential litigation.
22· · I don't understand this stuff.                             22· · Do you see that?
23· · · · ·Q· · (By Mr. Mattei)· Okay.· I'm just asking you,     23· · · · ·A· · Yes.
24· · were you aware that the name of the entity Infowars,       24· · · · ·Q· · Okay.· And I take it your testimony is that,
25· · LLC was changed for purposes of filing for bankruptcy,     25· · as far as you're concerned as the owners of those

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·1· · is that something that you were aware of?                  ·1· · entities, that information is accurate, correct?
·2· · · · ·A· · I am.                                            ·2· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·3· · · · ·Q· · Okay.· And that's obviously not something that   ·3· · You can answer.
·4· · could have happened without your authorization, you own    ·4· · · · ·A· · Can I -- can I see the -- what companies are
·5· · the company, correct?                                      ·5· · they again?
·6· · · · ·A· · Yes.                                             ·6· · · · ·Q· · (By Mr. Mattei)· Sure.· If you go up to
·7· · · · ·Q· · All right.· And I want to go down to the part    ·7· · Paragraph 6, you'll see that the debtors are defined as
·8· · of the document titled Declaration of W. Marc Schwartz     ·8· · the three entities we discussed earlier, Info -- which
·9· · Regarding Bankruptcy Code.· Do you see that?               ·9· · names were changed for purposes of the bankruptcy, but
10· · · · ·A· · Yes.                                             10· · the three entities that you filed for bankruptcy
11· · · · ·Q· · Marc Schwartz is the gentleman you hired to be   11· · protection were Infowars, LLC; Infowars Health, LLC and
12· · the chief restructuring officer of these three             12· · Prison Planet TV, LLC, correct?
13· · entities, correct?                                         13· · · · ·A· · Yes.
14· · · · ·A· · Yes.                                             14· · · · ·Q· · Okay.· Those are the debtors listed here under
15· · · · ·Q· · You met with him in connection with preparing    15· · the new names that were given to them for the purposes
16· · that bankruptcy, yes?                                      16· · of the bankruptcy, correct?
17· · · · ·A· · I don't think at this time I had met with        17· · · · ·A· · Yes.
18· · him.                                                       18· · · · ·Q· · All right.· So those are the debtors that were
19· · · · ·Q· · Okay.· Well, if you look at Paragraph 7, he      19· · described by Mr. Schwartz in Paragraph 8 as having no
20· · says in his declaration, I have also met with counsel      20· · business activities, income, bank accounts or debts or
21· · for the debtors and Mr. Jones to obtain an                 21· · liabilities.· Do you see that?
22· · understanding of debtor's operation.· I've also            22· · · · ·A· · Yes, and I'm confused by that, because -- but
23· · reviewed lists of assets owned by the debtors.             23· · this is -- this is all complex stuff.· I -- I don't
24· · · · ·A· · Yes.                                             24· · understand this, so I can't speak to it.
25· · · · ·Q· · At some point you met with Mr. Schwartz,         25· · · · ·Q· · Okay.· Well, are -- is it your testimony that


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·1· · you don't know whether those companies that you own 100    ·1· · · · ·A· · Sitting here in this room, yeah.
·2· · percent of had any business activities?                    ·2· · · · ·Q· · Okay.· Mr. Jones, I'm going to show you a
·3· · · · ·A· · Well, I mean, Infowars Health brings in like     ·3· · video or I'm going to attempt to show you a video.· On
·4· · $40,000 a month, so it does have business activities.      ·4· · your video now, do you have a paused -- I'm sorry, on
·5· · I'm -- I'm -- I don't know how -- I'm going to have to     ·5· · your screen right now, do you have a paused video that
·6· · speak to the lawyers and these CPAs, because I believe     ·6· · shows you in the middle of the screen?
·7· · whatever they're doing is good faith here, but I'm         ·7· · · · ·A· · Yes.
·8· · under oath here, I'm telling you that that Infowars        ·8· · · · ·Q· · All right.· And this is Exhibit No. 183.· Do
·9· · Health brings in money --                                  ·9· · you recall preparing a video that was titled Alex Jones
10· · · · ·Q· · Okay.                                            10· · Responds to Stories about Justice Department Denying
11· · · · ·A· · -- so...                                         11· · Infowars Bankruptcy?
12· · · · ·Q· · And that's through your interest in Youngevity   12· · · · ·A· · I didn't write that headline, somebody clipped
13· · products, correct?                                         13· · that out, but this is from a live show that I did.
14· · · · ·A· · Yes.                                             14· · · · ·Q· · Okay.· So this is -- this is from a live show
15· · · · ·Q· · You promote Youngevity products and you get a    15· · that you did, correct?
16· · cut of any of those sales, correct?                        16· · · · ·A· · I would have to see it.· It appears -- once
17· · · · ·A· · Yes.                                             17· · you play it, I'll know.
18· · · · ·Q· · All right.· And that money goes directly from    18· · · · ·Q· · Okay.· We'll play and if you have any trouble
19· · Infowars -- or at least it did, it goes directly form      19· · hearing it, just let me know.
20· · Infowars Health, LLC to you personally, correct?           20· · · · · · · · · · · · ·(Playing video.)
21· · · · ·A· · Yes.                                             21· · · · ·Q· · (By Mr. Mattei)· Did you see enough there to
22· · · · · · · · · · · · MR. ATKINSON:· Objection.              22· · know that that was you, in fact, speaking and this was
23· · · · ·Q· · (By Mr. Mattei)· And -- but whatever the         23· · a segment that you broadcast?
24· · assets of these companies may have been at the time,       24· · · · ·A· · Yes.
25· · you would agree with me that compared -- or as a           25· · · · ·Q· · And you're talking about the bankruptcy that

                                                   Page 792                                                         Page 794
·1· · percentage of Free Speech Systems' overall assets, the     ·1· · you filed, correct?
·2· · three companies that you put into bankruptcy protection    ·2· · · · ·A· · Yes.
·3· · had a -- contained few, if any, of the overall assets,     ·3· · · · ·Q· · And you indicated that somebody had called a
·4· · correct?                                                   ·4· · judge and said that you don't get access to the
·5· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·5· · bankruptcy courts, correct?
·6· · You can answer.                                            ·6· · · · ·A· · This is a shorter clip out of context, but
·7· · · · ·A· · No, I don't see Infowars as -- as being a        ·7· · yes, in fact, we're even getting the affidavit, and
·8· · small asset, the website.                                  ·8· · that wasn't brought up here, but it's going to be
·9· · · · ·Q· · (By Mr. Mattei)· Okay.· And so what would you    ·9· · brought up.· The U.S. Trustee's office doing
10· · say is the value of the Infowars.com website?              10· · unprecedented things, calling former judges that were
11· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      11· · trustees and their lawyer.· And they were also in the
12· · You can answer.                                            12· · news making similar bizarre statements, without even
13· · · · ·A· · I can't quantify that.· Just, it has value in    13· · looking at the documents, and saying this is a policy
14· · my mind and so does Infowars Health --                     14· · from the top that -- that, you know, we're going to
15· · · · ·Q· · (By Mr. Mattei)· Well, can you --                15· · oppose this and, you know, you shouldn't do this.
16· · · · ·A· · So does Infowars Health, I mean, it's value      16· · · · ·Q· · All right.· I just want to make sure I
17· · right there.                                               17· · understand, you just indicated that you are preparing
18· · · · ·Q· · Can you give me an estimate of percentage of     18· · an affidavit or you're having an affidavit prepared?
19· · your company -- of your overall holding valuation the      19· · · · ·A· · In fact, I believe that's already been --
20· · website represents?                                        20· · being done, yeah, for the witnesses.
21· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      21· · · · ·Q· · And who -- who are -- when you say the
22· · You can answer.                                            22· · witnesses, you presumably mean the people who were
23· · · · ·A· · I -- I can't speculate.                          23· · contacted by the United States Bankruptcy Trustee?
24· · · · ·Q· · (By Mr. Mattei)· Okay.· That would be            24· · · · ·A· · Uh-huh.
25· · speculation for you to do something like that?             25· · · · ·Q· · Is that a "yes"?


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·1· · · · ·A· · Yes.                                             ·1· · · · ·A· · Sure.· I need -- I'm not prepared to answer
·2· · · · ·Q· · And who is that?                                 ·2· · these questions at this time.· I'd need to go back. I
·3· · · · ·A· · I don't remember all of the names.· And I        ·3· · don't remember the names of the specifics of all of
·4· · can't -- you know, I just know it was like a shocking      ·4· · that.· I don't want to get that wrong or say that
·5· · thing, you know, I mean, unprecedented.                    ·5· · wrong, so I specifically can't answer the question at
·6· · · · ·Q· · And I just want to make sure I understand what   ·6· · this time, because I don't -- I don't remember it all.
·7· · this shocking thing was is -- is your claim that the       ·7· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, what would you
·8· · United States Bankruptcy Trustee in Texas contacted the    ·8· · need to do in order to remember who conveyed this
·9· · judge, Judge Lopez, is that what you're saying?            ·9· · shocking information to you?
10· · · · ·A· · No, that's not what I said.                      10· · · · ·A· · I mean, I would just need to go talk to some
11· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      11· · people and collect my memory of it and get the
12· · You can answer.                                            12· · specifics.
13· · · · ·Q· · (By Mr. Mattei)· Go ahead.                       13· · · · ·Q· · I'm going to go ahead and keep playing this
14· · · · · · · · · · · · MR. ATKINSON:· Go ahead.               14· · now.
15· · · · ·A· · That's -- again, I don't have it all in front    15· · · · · · · · · · · · THE WITNESS:· Can you close that
16· · of me like I did that day when I was giving a gestalt      16· · door a little better?
17· · of what I had been told, but I'm talking about former      17· · · · · · · · · · · · (Playing video.)
18· · judges that were trust -- going to be trustees and         18· · · · ·Q· · (By Mr. Mattei)· So there, Mr. Jones, you say
19· · their lawyer and people like that getting these phone      19· · that the United States Bankruptcy Trustee told the
20· · calls and -- and just the disbelief at the                 20· · lawyers for the plaintiffs to drop the cases against
21· · unprecedented nature of it, before they'd ever even        21· · the three companies you put into bankruptcy.· What was
22· · seen anything.· And then there are public statements.      22· · your source for that statement?
23· · · · · · · · · · · · I mean, you saw the trustee's office   23· · · · ·A· · That's -- that's my speculation, but I also
24· · public statements.· And this is a bankruptcy attempting    24· · saw the lawyers on your side and also the U.S.
25· · to pay debtors.· And then there's people saying that       25· · Trustee's office saying the exact same things, which of

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·1· · no, this is a bankruptcy to hide assets when there         ·1· · course weren't true as usual.
·2· · aren't hidden assets.· It's just par for the course of     ·2· · · · ·Q· · I see.· So you were just making that up,
·3· · the political witch hunt.                                  ·3· · yeah?
·4· · · · ·Q· · Who described that conversation to you?          ·4· · · · ·A· · No, I wasn't making it up.
·5· · · · ·A· · Excuse me?                                       ·5· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·6· · · · ·Q· · Who described that conversation to you?          ·6· · You can answer.
·7· · · · ·A· · It's attorney/client privileged stuff, but I'm   ·7· · · · ·A· · I was speculating -- I mean, I was -- at the
·8· · sure it'll -- it'll come out for you.                      ·8· · time, I had read probably 20 news articles about it
·9· · · · ·Q· · No, no, Mr. Jones, you have to answer the        ·9· · with statements and quotes about people, so I was
10· · question unless your attorney asserts a privilege, but     10· · putting that together there for news.· I don't have it
11· · obviously, sir, if you're talking about it to an           11· · in front of me.· You can see I have it there in front
12· · audience of millions about this conversation that was      12· · of me on the show.
13· · relayed to you --                                          13· · · · ·Q· · (By Mr. Mattei)· Not one of those articles
14· · · · · · · · · · · · MR. MATTEI:· I guess I'll leave it     14· · reported that the United States Bankruptcy Trustee had
15· · to your attorney to make the argument about whether --     15· · instructed the plaintiffs' lawyers to do anything,
16· · · · · · · · · · · · MR. ATKINSON:· So, Chris, if I can     16· · correct?
17· · help facilitate this, Mr. Jones, you can answer, but       17· · · · · · · · · · · · MR. ATKINSON:· Objection; form.· You
18· · what I would suggest that you do, first of all, is         18· · can answer.
19· · identify the person who reported the conversation to       19· · · · ·A· · I don't remember.
20· · you.· Mr. Mattei will ask his next question to you.        20· · · · · · · · · · · · (Playing video.)
21· · And then if that question gets into something that may     21· · · · ·Q· · (By Mr. Mattei)· Okay.· Mr. Jones, did you
22· · be attorney/client privileged, I will evaluate and         22· · hear you claim to your audience that you don't have $2
23· · assess that when he asks the question.· But right now,     23· · million yourself?
24· · I -- I am advising you to answer the question of who       24· · · · ·A· · Yes.
25· · reported the conversation to you.                          25· · · · ·Q· · Okay.· That's not true, is it?


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·1· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·1· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, if this video was
·2· · You can answer.                                            ·2· · recorded in June of this year and you told your
·3· · · · ·A· · At -- at the time, I didn't have $2 million.     ·3· · audience in the video that you don't have $2 million
·4· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, this is two weeks    ·4· · personally, that was false, correct?
·5· · ago, did you know that?                                    ·5· · · · ·A· · No, that's not false.
·6· · · · ·A· · I think this was longer than two weeks ago.      ·6· · · · · · · · · · · · MR. ATKINSON:· Objection.
·7· · · · ·Q· · Well, would it help to go to Banned.video to     ·7· · · · ·Q· · (By Mr. Mattei)· Okay.· So it's your testimony
·8· · see when it was posted?                                    ·8· · that as of the last three weeks, since the beginning of
·9· · · · ·A· · Well, when something is posted isn't             ·9· · June, you don't have personal assets in excess of $2
10· · necessarily when it's live, but I'd have to look at the    10· · million?
11· · date.                                                      11· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
12· · · · ·Q· · Well, let me just -- let me just make it easy    12· · You can answer.
13· · for you.· If this was posted -- if you recorded this in    13· · · · ·A· · I know that at the -- I'm speaking of
14· · June of this year and told your audience that you don't    14· · $2 million cash.· I don't have $2 million cash.
15· · have $2 million yourself, that is not correct?             15· · · · ·Q· · (By Mr. Mattei)· You don't?
16· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      16· · · · ·A· · At that -- at that time.
17· · · · ·Q· · (By Mr. Mattei)· Fair?                           17· · · · ·Q· · Which was -- which was two weeks ago?
18· · · · · · · · · · · · MR. ATKINSON:· You can answer.         18· · · · ·A· · No, you can say when this video was posted
19· · · · · · · · · · · · THE WITNESS:· Man, it's loud in this   19· · somewhere.· I'm telling you this is from longer back
20· · place.· Sorry, there's like a tour going on inside         20· · than two weeks.
21· · here.                                                      21· · · · ·Q· · Okay.· Well, when was it then?
22· · · · · · · · · · · · MR. ATKINSON:· Chris, I suggest that   22· · · · ·A· · I don't -- you got some video on the screen.
23· · you re -- or have that question --                         23· · I just know that -- I've been completely transparent
24· · · · · · · · · · · · MR. MATTEI:· No, no, no, I'll ask      24· · with the audience about where you're going with the
25· · the question --                                            25· · Bitcoin donations.· I told them when we got a million

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·1· · · · · · · · · · · · MR. ATKINSON:· -- read back.           ·1· · dollars.· I told them when we got $2 million.· I told
·2· · · · · · · · · · · · MR. MATTEI:· -- again.· I'll ask the   ·2· · them when we got the large donation after that.· I told
·3· · question again.                                            ·3· · them when the Bitcoin value went down unfortunately.
·4· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, since the            ·4· · · · · · · · · · · · I mean, the show is completely
·5· · beginning of June of this year, am I correct, that you     ·5· · transparent.· That's why you're watching and getting
·6· · do have personal assets in excess of $2 million?           ·6· · clips and trying to confuse me here.· But I mean, I had
·7· · · · ·A· · Say that again?                                  ·7· · already told -- I mean, a day or two after we got those
·8· · · · ·Q· · As of the beginning of June of this year --      ·8· · big donations, I told the audience about it.· I mean, I
·9· · · · · · · · · · · · THE WITNESS:· And I'm sorry.· You're   ·9· · think I broke those donations in the news, so...
10· · not here.· There's like 10 women up and down the hall,     10· · · · ·Q· · Mr. Jones, I didn't ask you about Bitcoin.
11· · just -- there's like glass doors here.· This place is      11· · · · ·A· · But I know you're -- that's where you're going
12· · insane.· There is not even doorknobs on the doors here.    12· · and so --
13· · So I'm going to have to -- we might have to take a         13· · · · ·Q· · No, you don't know where I'm going, so just
14· · break here until this -- I mean, the guy has even left     14· · answer the question I ask you, okay?
15· · the room.                                                  15· · · · · · · · · · · · The question I asked you was,
16· · · · · · · · · · · · MR. ATKINSON:· So can -- Mr. Jones,    16· · whether -- how you know that at the time you made this
17· · I recognize it's distracting there, but before we can      17· · video, you didn't have $2 million in personal assets?
18· · take a break, I think you need to answer the question      18· · · · ·A· · Not assets.
19· · that --                                                    19· · · · · · · · · · · · MR. ATKINSON:· Objection as to form.
20· · · · · · · · · · · · THE WITNESS:· Sure.· Sure.· I'm        20· · You can answer.
21· · glad.· The guy is back in the room now.· He can tell       21· · · · ·A· · I've already answered your questions, $2
22· · you it's been loud.· They're gone now.                     22· · million cash.
23· · · · · · · · · · · · MR. ATKINSON:· So answer -- answer     23· · · · ·Q· · (By Mr. Mattei)· Okay.· How did you know you
24· · the question that's pending.                               24· · didn't have $2 million cash?
25· · · · ·A· · Okay.· Go ahead.                                 25· · · · ·A· · Because I had just --


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·1· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·1· · that house?
·2· · You can answer.                                            ·2· · · · ·A· · I don't remember, sometime this year.
·3· · · · ·A· · Because I had just been paying bills out of      ·3· · · · ·Q· · Sometime in 2022?
·4· · what money I had left and I knew how much I had            ·4· · · · ·A· · Yeah, I don't have the exact date.
·5· · roughly.                                                   ·5· · · · ·Q· · Okay.· Sometime this year, though.· What was
·6· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, you just told me     ·6· · the address of that property?
·7· · you don't even know when this video was made?              ·7· · · · ·A· · You've got it, 30 -- I forget, 0 --
·8· · · · ·A· · I remember some of what I was talking --         ·8· · · · ·Q· · Okay.· I'm going to play a little more of this
·9· · you're just trying to confuse me, so I can't -- I can't    ·9· · video, Mr. Jones.
10· · answer questions when I don't know the date of the         10· · · · · · · · · · · · (Playing video.)
11· · video and you keep saying assets and I said dollars in     11· · · · ·Q· · (By Mr. Mattei)· Okay.· Did you hear where you
12· · the bank.· I've been very clear.                           12· · said there to your audience that the defendants who
13· · · · ·Q· · Okay.· Well, let's just focus on assets then.    13· · were dropped from these cases represents 70 percent of
14· · You definitely have, over the course of the entire year    14· · Infowars?
15· · of 2022, have had assets in excess of $2 million,          15· · · · ·A· · Yes.
16· · correct?                                                   16· · · · ·Q· · Okay.· And there you are referring to
17· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      17· · Infowars, LLC; Infowars Health, LLC and Prison Planet
18· · You can answer.                                            18· · TV, LLC, correct?
19· · · · ·A· · Again, if you -- if you try to ask me to         19· · · · ·A· · Yes.
20· · guesstimate how many assets I have, I can give you an      20· · · · ·Q· · Okay.· How did you come up with that 70
21· · uneducated guess, because I haven't -- I don't have a      21· · percent number?
22· · perfect handle on it.· But if you say over the course      22· · · · ·A· · I mean, I think -- hell, you can say 100 --
23· · of a year, I have -- I don't know what you're talking      23· · you can say 100 percent.· I mean, Infowars, the
24· · about.                                                     24· · website, is very important, and that's -- that's most
25· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, when you filed for   25· · of value of what I call Infowars.

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·1· · bankruptcy, you committed to fund a litigation trust       ·1· · · · ·Q· · Okay.· And so you were referring to the
·2· · with $2 million, correct?                                  ·2· · Infowars.com website as comprising 70 percent of all of
·3· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·3· · Infowars' value, correct?
·4· · You can answer.                                            ·4· · · · ·A· · Yeah, it's a guesstimation.· It's just -- I
·5· · · · ·A· · Yes.                                             ·5· · mean, to me, that's -- that has a lot of value.· So it
·6· · · · ·Q· · (By Mr. Mattei)· Okay.                           ·6· · may not to you guys, but whatever -- believe whatever
·7· · · · ·A· · And that money was no longer mine, I mean,       ·7· · you want.
·8· · once it's put in the trust for the purposes of that.       ·8· · · · ·Q· · In fact, it's -- would you say it's your most
·9· · · · ·Q· · Mr. Jones, and so you -- it's your testimony     ·9· · valuable asset?
10· · that you funded a litigation trust with $2 million of      10· · · · ·A· · No.
11· · your own money, correct?                                   11· · · · ·Q· · Okay.· What's more valuable than the website
12· · · · ·A· · Yes.                                             12· · to you?
13· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      13· · · · ·A· · Me.
14· · You can answer.                                            14· · · · ·Q· · You, personally?
15· · · · ·Q· · (By Mr. Mattei)· That was a yes, right?          15· · · · ·A· · Yeah, I'm the most valuable asset of the
16· · · · ·A· · Yes.                                             16· · company, yeah.
17· · · · ·Q· · Okay.· And you did that in April of 2022,        17· · · · ·Q· · Besides you personally, would you say --
18· · correct?                                                   18· · · · ·A· · I'm the key man.
19· · · · ·A· · Yes.                                             19· · · · ·Q· · -- the website?
20· · · · ·Q· · And where was that money drawn from?             20· · · · ·A· · I'm a key man.· I'm a key man.· And then I
21· · · · ·A· · From the --                                      21· · would say our crew is the second most valuable asset.
22· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      22· · · · ·Q· · All right.
23· · You can answer.                                            23· · · · ·A· · And then, of course, the audience is the third
24· · · · ·A· · From the sale of my house.                       24· · most valuable.
25· · · · ·Q· · (By Mr. Mattei)· Okay.· And when did you sell    25· · · · ·Q· · Right.· And you are employed by Free Speech


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·1· · Systems, correct?                                          ·1· · · · ·Q· · So as you sit here today, really I just want
·2· · · · ·A· · And then the pendulum swinging against tyranny   ·2· · to get back to this question.· The asset that you were
·3· · is the next most valuable, so...                           ·3· · claiming represented 70 percent of Infowars was the
·4· · · · ·Q· · Mr. Jones -- Mr. Jones, you are employed by      ·4· · website, correct?
·5· · Free Speech Systems, correct?                              ·5· · · · ·A· · Yes.
·6· · · · ·A· · Employed by it?· I don't technically know what   ·6· · · · ·Q· · Infowars.· Okay.· Anything else?
·7· · that means.· I mean, I don't -- I mean, I -- I guess I     ·7· · · · ·A· · I mean, I think the archive of our shows on
·8· · am employed by it now.· I can't remember.· I don't         ·8· · Prison Planet TV is valuable.· I think Infowars Health
·9· · really worry about all of that stuff.                      ·9· · is valuable.· I mean, they were -- there was real stuff
10· · · · ·Q· · And your crew is employed by Free Speech         10· · put in to try to, you know, just -- to try to end this,
11· · Systems, right?                                            11· · you know, and that's what it was.· It was a really good
12· · · · ·A· · Yes.                                             12· · faith thing to try to -- try to have a court look at
13· · · · ·Q· · Okay.· And so I'm just trying to figure out      13· · how much money was actually there and stop all of the
14· · when you told your audience that the companies that        14· · rumors and -- and stuff and actually try to just move
15· · filed for bankruptcy represented 70 percent of             15· · forward.
16· · Infowars, what you were referring to?                      16· · · · ·Q· · So as the owner of those -- of those
17· · · · ·A· · To things that are Infowars.· I mean, I would    17· · companies, it was your view that they were engaged in
18· · say the website is like 70 percent of what I would call    18· · meaningful business activities, correct?
19· · Infowars.· And then I'd say like merchandise and stuff,    19· · · · ·A· · Yeah, I'm not trying to contradict the people
20· · you know, another 30 percent or so.· I mean, I'm           20· · that worked there.· I don't understand all of that,
21· · talking about Infowars, how I see Infowars itself.         21· · so -- I mean, being honest, looking at that, those
22· · Free Speech Systems is just a management company to pay    22· · things have value to me.· And I mean, I think it was
23· · employees and -- and -- and do that stuff, but to me       23· · pledged in there, some of the documents I read, to use
24· · Infowars is what's really valuable.                        24· · the money coming into Infowars Health to help future
25· · · · ·Q· · Infowars, the brand?                             25· · fund any settlements.· So I -- and I'm not impugning

                                                   Page 808                                                         Page 810
·1· · · · ·A· · Yeah, I mean, absolutely.· Infowars the site     ·1· · Mr. Schwartz.· I'm just saying it's a he said/she said
·2· · and -- and yeah.                                           ·2· · stuff and stuff.
·3· · · · ·Q· · Okay.· But you make all of your money through    ·3· · · · ·Q· · Right.· Well, you're the owner, so I'm asking
·4· · the site Infowarsstore.com, right?                         ·4· · you.· I'm asking you, it's your testimony as the owner
·5· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·5· · of these companies that they were engaged in meaningful
·6· · You can answer.                                            ·6· · business activities, correct?
·7· · · · ·A· · Again, you're projecting onto this whatever it   ·7· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·8· · is you believe.· I don't even really understand your       ·8· · You can answer.
·9· · questions.· I mean, what does that mean I make my          ·9· · · · ·A· · I mean, I think so, yeah.
10· · money?· My show --                                         10· · · · ·Q· · (By Mr. Mattei)· Okay.· In addition to the 2
11· · · · ·Q· · (By Mr. Mattei)· Well, Mr. Jones --              11· · million that -- oh, I'm not sure I got an answer to
12· · · · ·A· · Yeah.                                            12· · this.
13· · · · ·Q· · Mr. Jones, you froze for a second.· Can you      13· · · · · · · · · · · · Where did that 2 million come from
14· · hear me?                                                   14· · that you used to fund the settlement trust?
15· · · · ·A· · Yeah.                                            15· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
16· · · · ·Q· · Okay.· You make money by selling supplements,    16· · You can answer.
17· · right?                                                     17· · · · ·A· · From the sale of my house.
18· · · · ·A· · That'd be a yes.                                 18· · · · ·Q· · (By Mr. Mattei)· Thank you.· You did answer
19· · · · ·Q· · Okay.· And the supplements and the merchandize   19· · that.· Thank you.
20· · you sell are sold on the websites Infowarsstore.com and    20· · · · ·A· · And then I had like a million bucks left
21· · Infowarsshop.com, right?                                   21· · there, that's what I'm talking about.· So I'm running
22· · · · ·A· · Yes.                                             22· · out of cash, that's a fact, believe me.
23· · · · ·Q· · Okay.· They're not sold on Infowars.com,         23· · · · ·Q· · And I'm going to show you now Page 47 of
24· · correct?                                                   24· · Exhibit 184.· It's an exhibit that we previously looked
25· · · · ·A· · No.                                              25· · at, Mr. Jones.· Do you see here a table indicating that


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·1· · $715,000 was wired to an account on April 6th, 2022        ·1· · Litigation Settlement Trust, correct?
·2· · representing exempt proceeds from homestead sale?          ·2· · · · ·A· · Your -- your audio is unintelligible.
·3· · · · ·A· · Yes, I see that.                                 ·3· · · · ·Q· · Okay.· Let me repeat that.
·4· · · · ·Q· · Okay.· So that's $715,000 in addition to the     ·4· · · · ·A· · It's clearer now.
·5· · 2 million?                                                 ·5· · · · ·Q· · Are you hearing me clearly --
·6· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·6· · · · ·A· · Yes.
·7· · You can answer.                                            ·7· · · · ·Q· · Are you hearing me clearly right now?
·8· · · · ·A· · I don't -- I don't -- I've never seen these      ·8· · · · ·A· · Yes.
·9· · documents before, so I really can't speak to it.           ·9· · · · ·Q· · Yes.· Okay.· Before we broke, I was just -- I
10· · · · ·Q· · (By Mr. Mattei)· Okay.· So let me just then --   10· · believe you confirmed, but I'll ask you again, that
11· · I take it that it's your understanding that you            11· · it's your understanding that your ownership interest in
12· · transferred $2 million into the Litigation Settlement      12· · those three entities that filed for bankruptcy, that
13· · Trust, which were proceeds from the sale of your home,     13· · you transferred your ownership interest to the
14· · correct?                                                   14· · Litigation Settlement Trust, correct?
15· · · · ·A· · I mean, I'm going from memory, but I think       15· · · · ·A· · I can't competently speak to that.· I don't
16· · that's -- yeah.                                            16· · understand it all.
17· · · · ·Q· · Okay.· All right.· So, the -- and those three    17· · · · ·Q· · Mr. Jones, who owns the company formerly known
18· · entities, Infowars, LLC; Infowars Health, LLC and          18· · as Infowars, LLC today?
19· · Prison Planet TV, LLC, they were also transferred into     19· · · · ·A· · I -- I'm confused by all of this.
20· · the Litigation Settlement Trust, correct?                  20· · · · ·Q· · Is your answer you don't know who owns
21· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      21· · Infowars, the company formerly known as Infowars,
22· · You can answer.                                            22· · LLC?
23· · · · ·A· · I don't know.                                    23· · · · ·A· · No, I'm confused.
24· · · · · · · · · · · · THE WITNESS:· Is there a water         24· · · · ·Q· · Okay.· What is confusing about the question,
25· · fountain out there?                                        25· · who owns Infowars, LLC?

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·1· · · · · · · · · · · · THE VIDEOGRAPHER:· There's some        ·1· · · · ·A· · Earlier you had someone saying that Free
·2· · water right there.· Do you want me to get you some?        ·2· · Speech does and I believe it's a separate company.
·3· · · · · · · · · · · · THE WITNESS:· Hey, can we take a       ·3· · · · ·Q· · I'm not asking about the website anymore.· I'm
·4· · break, guys?· And also, ask how long -- because I was      ·4· · just asking about the company Infowars, LLC, that was a
·5· · told I'd be here an hour and a half or so.· How much       ·5· · defendant in this case, correct?
·6· · time do we got going on here after we take a break?        ·6· · · · ·A· · Yes.
·7· · · · · · · · · · · · MR. MATTEI:· Well, we can take a       ·7· · · · ·Q· · You sought bankruptcy protection for that
·8· · break.· I'm not sure how much longer we have.              ·8· · company, correct?
·9· · · · · · · · · · · · THE WITNESS:· Because under            ·9· · · · ·A· · Yes.
10· · Connecticut rules, is it going to be, like, 1,000 years    10· · · · ·Q· · Okay.· You had 100 ownership interest in that
11· · or how long?                                               11· · company, correct?
12· · · · · · · · · · · · MR. ATKINSON:· All right.· Let's       12· · · · ·A· · I believe so, yes.
13· · take a break, Alex, and we'll talk about it during the     13· · · · ·Q· · Okay.· Then you sought bankruptcy protection
14· · break, all right?                                          14· · for that company and you assigned all of your ownership
15· · · · · · · · · · · · THE WITNESS:· Yep.                     15· · interest to the Litigation Settlement Trust, correct?
16· · · · · · · · · · · · THE VIDEOGRAPHER:· We are off the      16· · · · ·A· · I believe so, but I'm confused, so I can't
17· · record at 10:16.· End of Media 1.                          17· · answer that 100 percent.
18· · · · · · ·(A recess was taken from 10:16 to 10:22.)         18· · · · ·Q· · Okay.· Well, let me show you, this is, again,
19· · · · · · · · · · · · THE VIDEOGRAPHER:· We're on the        19· · Exhibit 184.· All right.· I'm going to bring your
20· · record at 10:22.· Start Media 2.                           20· · attention to Paragraph No. 9.· Do you have Paragraph
21· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, before we went off   21· · No. 9 in front of you?
22· · for the break, I was just asking you to confirm that it    22· · · · ·A· · Yes.
23· · was your understanding that those -- the three entities    23· · · · ·Q· · Okay.· Paragraph 9 describes the fact that you
24· · that you sought bankruptcy protection for, that you        24· · have 100 percent ownership interest in Free Speech
25· · assigned all of your ownership in those entities to the    25· · Systems and the three companies you put into


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·1· · bankruptcy, correct?                                       ·1· · lawyers?
·2· · · · ·A· · Yes.                                             ·2· · · · ·A· · I believe so.
·3· · · · ·Q· · And then it says, He, that is you, assigned      ·3· · · · ·Q· · And what about the ownership of Infowars, LLC;
·4· · those equity interests to the 2022 Litigation              ·4· · Infowars Health, LLC and Prison Planet TV, LLC; have
·5· · Settlement Trust before the petition date.· Do you see     ·5· · you now retained ownership of those entities as you had
·6· · that?                                                      ·6· · before?
·7· · · · ·A· · Yes.                                             ·7· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·8· · · · ·Q· · All right.· And do you recall doing that?        ·8· · You can answer.
·9· · · · ·A· · Now, that you've shown me this, yes, thank       ·9· · · · ·A· · That's an important question.· I don't -- I
10· · you.                                                       10· · need to -- I need to look into that.
11· · · · ·Q· · Okay.· And if you go down to the declaration     11· · · · ·Q· · (By Mr. Mattei)· So the answer is you don't
12· · of the 2022 Litigation Settlement Trust, you'll see        12· · know?
13· · that you are a signatory, correct?· That's your            13· · · · ·A· · The answer is I don't know.
14· · signature on Page 86?                                      14· · · · ·Q· · As of today, June 21st, 2022, who or what owns
15· · · · ·A· · It's all over -- it's jumping around here.       15· · Infowars.com, the website?
16· · · · ·Q· · Yeah.· Do you have the signature page in front   16· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
17· · of you now?                                                17· · You can answer.
18· · · · ·A· · No, I don't.                                     18· · · · ·A· · As I said, I'm -- this is all complex. I
19· · · · ·Q· · Okay.· Hold one second.                          19· · really don't have the answer to that, but I think I
20· · · · ·A· · You might as well have had this in a shopping    20· · do.
21· · mall.· I see it now.                                       21· · · · ·Q· · (By Mr. Mattei)· Okay.· Other than
22· · · · ·Q· · Do you have the signature page in front of       22· · Infowars.com -- well, hang on one second.
23· · you?                                                       23· · · · · · · · · · · · You testified earlier that you are
24· · · · ·A· · Yes.                                             24· · not aware of authorizing the sale of the website,
25· · · · ·Q· · Okay.                                            25· · Infowars -- strike that.

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·1· · · · ·A· · Yeah, that's my signature.                       ·1· · · · · · · · · · · · You testified earlier that you were
·2· · · · ·Q· · Right.· And then that's Rob Dew's signature      ·2· · not aware of having authorized the transfer of the
·3· · right above, signed on April 15th of this year,            ·3· · Infowars.com website from Free Speech Systems to
·4· · correct?                                                   ·4· · Infowars, LLC prior to the bankruptcy.
·5· · · · ·A· · Yes.                                             ·5· · · · · · · · · · · · I'm asking you about any other
·6· · · · · · · · · · · · THE WITNESS:· Can you close that       ·6· · transfers between Free Speech Systems and Infowars
·7· · door fully?· It's -- sorry.                                ·7· · prior to the bankruptcy, are you aware of any?
·8· · · · · · · · · · · · THE VIDEOGRAPHER:· It's closed as      ·8· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·9· · far as it can go.                                          ·9· · You can answer.
10· · · · · · · · · · · · THE WITNESS:· Okay.· Thanks.           10· · · · ·A· · Can you -- I think since you showed me that
11· · · · ·Q· · (By Mr. Mattei)· Now, the bankruptcy has now     11· · document, that may have refreshed my memory.· I should
12· · been dismissed, correct?                                   12· · have asked that.· I forget that I'm supposed to do
13· · · · ·A· · I believe so, yes.                               13· · that.· Because, again, my head is not this.· It gives
14· · · · ·Q· · What happened to the $2 million that you used    14· · me a headache.· I'm trying to understand what you're
15· · to fund the Litigation Settlement Trust?                   15· · saying.· I think you refreshed my memory that the
16· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      16· · Infowars website was transferred into this trust,
17· · You can answer.                                            17· · correct?
18· · · · ·A· · I don't have the accounting in front of me,      18· · · · ·Q· · (By Mr. Mattei)· That's not what that said.
19· · but I think part of it was spent on lawyers and I          19· · The document I just showed you said that you had
20· · believe the rest is sitting there.                         20· · transferred all of your ownership interest in Infowars,
21· · · · ·Q· · (By Mr. Mattei)· Okay.· You think that some      21· · LLC to the trust?
22· · portion of that $2 million is still sitting in an          22· · · · ·A· · Okay.· See, I can't -- I'm just totally
23· · account for the Litigation Settlement Trust?               23· · confused.· What was the next question?
24· · · · ·A· · Yes.                                             24· · · · ·Q· · Fair enough.· Yeah, so the question I was
25· · · · ·Q· · And you believe the rest was used to pay         25· · asking you is, are you aware of any transfers of


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·1· · property owned by Free Speech Systems to Infowars, LLC    ·1· · take that money out and use it for whatever purpose if
·2· · in the year prior to the bankruptcy?                      ·2· · you wanted to at this point, correct?
·3· · · · · · · · · · · · MR. ATKINSON:· Objection to form.     ·3· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·4· · You can answer.                                           ·4· · You can answer.
·5· · · · ·A· · I think these documents speak for themselves.   ·5· · · · ·A· · I would have to speculate, but I mean -- I --
·6· · I -- I -- this is just a tornado of --                    ·6· · I don't know.
·7· · · · ·Q· · (By Mr. Mattei)· I'm not talking about the      ·7· · · · ·Q· · (By Mr. Mattei)· What's
·8· · documents now.· Forget about the documents.· I'm          ·8· · WWW.Freeworldoutlet.com?
·9· · talking about you as the owner of these companies,        ·9· · · · ·A· · That is a separate website with another
10· · okay?                                                     10· · separate media marketing group that's been set up to --
11· · · · · · · · · · · · Do you have any personal knowledge    11· · · · ·Q· · Who owns it?
12· · of Free Speech Systems transferring any property to       12· · · · ·A· · -- resell our products.
13· · Infowars, LLC in the year prior to the bankruptcy?        13· · · · ·Q· · Who owns the website?
14· · · · ·A· · No, I -- I don't remember.                      14· · · · ·A· · I don't know.· I don't know who specifically
15· · · · ·Q· · Okay.· And do you have any knowledge of         15· · owns it.
16· · Infowars, LLC transferring any property to Free Speech    16· · · · ·Q· · Do you have an ownership interest in the
17· · Systems in the year prior to the bankruptcy?              17· · website?
18· · · · · · · · · · · · MR. ATKINSON:· Objection to form.     18· · · · ·A· · No.
19· · You can answer.                                           19· · · · ·Q· · Does a company that you control have an
20· · · · ·A· · No, I don't remember.                           20· · ownership from in the website?
21· · · · ·Q· · (By Mr. Mattei)· Since the termination of the   21· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
22· · bankruptcy proceeding, are you aware of any transfers     22· · You can answer.
23· · of property between Free Speech Systems and Infowars,     23· · · · ·A· · No.
24· · LLC?                                                      24· · · · ·Q· · (By Mr. Mattei)· Do you -- do you or any
25· · · · · · · · · · · · MR. ATKINSON:· Objection to form.     25· · companies in which you have an interest generate

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·1· · You can answer.                                           ·1· · revenue from products sold on that website?
·2· · · · ·A· · Since the -- since the -- since the --          ·2· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·3· · · · ·Q· · (By Mr. Mattei)· Termination of the -- I'll     ·3· · You can answer.
·4· · ask it again.                                             ·4· · · · ·A· · Yes, it -- it -- it buys product from us.
·5· · · · · · · · · · · · Since the termination of the          ·5· · · · ·Q· · (By Mr. Mattei)· The owner of the website buys
·6· · bankruptcy proceeding, are you aware of any transfers     ·6· · products from you and then sells your product on the
·7· · of property between Free Speech Systems and Infowars,     ·7· · website?
·8· · LLC?                                                      ·8· · · · ·A· · Yes.
·9· · · · ·A· · No.                                             ·9· · · · ·Q· · And your testimony is, you don't know who owns
10· · · · · · · · · · · · MR. ATKINSON:· The same objection.    10· · the website?
11· · · · ·Q· · (By Mr. Mattei)· Let me -- let me clear that    11· · · · ·A· · I don't know who register -- I'm not sure who
12· · up a little bit.· Since the termination of the            12· · registered it.
13· · bankruptcy proceeding, are you aware of any transfers     13· · · · ·Q· · Okay.· Well, you're doing business with
14· · of property between Free Speech Systems and the company   14· · somebody who owns that website, right?
15· · formerly known as Infowars, LLC?                          15· · · · ·A· · Yes.
16· · · · · · · · · · · · MR. ATKINSON:· The same objection.    16· · · · ·Q· · Okay.· Who do you know that's affiliated with
17· · · · ·A· · I don't -- I don't believe so, but I'm          17· · that website?
18· · completely confused.                                      18· · · · ·A· · Tim Fruge.
19· · · · ·Q· · (By Mr. Mattei)· Okay.· Do you believe that     19· · · · ·Q· · Tim Fruge is the former business operations
20· · you have personal access to whatever cash remains in      20· · manager for Free Speech Systems, right?
21· · the Litigation Settlement Trust?                          21· · · · ·A· · Yes.
22· · · · · · · · · · · · MR. ATKINSON:· Objection to form.     22· · · · ·Q· · All right.· He left Free Speech Systems and
23· · You can answer.                                           23· · then came back sometime last year, correct?
24· · · · ·A· · I believe I do.                                 24· · · · ·A· · Yes.
25· · · · ·Q· · (By Mr. Mattei)· In other words, you could      25· · · · ·Q· · And is -- is he still employed by Free Speech


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·1· · Systems?                                                   ·1· · You can answer.
·2· · · · ·A· · No, he has set up his own marketing company.     ·2· · · · ·A· · He -- he is.· He's running that site and he's
·3· · · · ·Q· · He set up his own marketing company.· What's     ·3· · also working on developing other -- other sites and
·4· · the marketing company called?                              ·4· · also sponsors.· He -- it's basically like he's creating
·5· · · · ·A· · That's why the specific of he said -- he said    ·5· · like an ad agency.
·6· · I want to start setting up websites and selling            ·6· · · · ·Q· · (By Mr. Mattei)· And when did he separate from
·7· · products and I would like to, you know, be a sponsor.      ·7· · employment at Free Speech Systems?
·8· · So he -- that's the plan is for him to be a sponsor and    ·8· · · · ·A· · I don't remember.
·9· · to be able to buy products as well, and it's just a,       ·9· · · · ·Q· · Do you or any companies you control provide
10· · you know, test marketing thing he's doing.                 10· · him with funding in connection with the venture you
11· · · · ·Q· · Your testimony is that it was Mr. Fruge's idea   11· · just described?
12· · to set up that website for the purpose of reselling        12· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
13· · your products?                                             13· · You can answer.
14· · · · ·A· · I mean, we collaborate -- we collaboratively     14· · · · ·A· · I don't remember, but I mean, it's -- it's --
15· · talked about it.                                           15· · I know he's designed it to be self-funding, so...
16· · · · ·Q· · Okay.· Who came up with the idea?                16· · You know, he -- he sells the product and then it's
17· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      17· · fulfilled, and then he pays us for the product that's
18· · You can answer.                                            18· · sold.· It's like an affiliate program.
19· · · · ·A· · I think Tim did.                                 19· · · · ·Q· · (By Mr. Mattei)· So your testimony is that the
20· · · · ·Q· · (By Mr. Mattei)· And was the idea to set up      20· · website that he controls will offer your products for
21· · Freeworldoutlet.com prompted by the fact that you are      21· · sale, correct?
22· · looking for ways to continue to generate revenue that      22· · · · ·A· · Yes.
23· · are not subject to recovery in this lawsuit?               23· · · · ·Q· · A sale is transacted and the proceeds of that
24· · · · · · · · · · · · MR. ATKINSON:· Objection; it calls     24· · sale are sent onto your company to pay for the product
25· · for a legal conclusion.                                    25· · that he then provides to the buyer, correct?

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·1· · · · ·A· · No, it's to -- it's to get around                ·1· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·2· · deplatforming and be able to sell our products in more     ·2· · You can answer.
·3· · markets.                                                   ·3· · · · ·A· · I don't have the specifics.· There are several
·4· · · · ·Q· · Okay.· Well, deplatform from where?              ·4· · different things that go on.
·5· · · · ·A· · Infowars is barred from advertising or           ·5· · · · ·Q· · (By Mr. Mattei)· Is there a -- do any
·6· · operating in most places on the internet.· And so it's     ·6· · companies in which you have an interest have an
·7· · a vehicle for third parties to be able to go up and        ·7· · agreement with Mr. Fruge or any of his companies in
·8· · sell the products and advertise.                           ·8· · relation to the operation of that website?
·9· · · · ·Q· · When was Freeworldoutlet.com set up?             ·9· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
10· · · · ·A· · I don't remember.                                10· · You can answer.
11· · · · ·Q· · And I take it from your testimony that it's      11· · · · ·A· · Yeah, there's a -- there's an affiliate -- I
12· · your understanding that Tim Fruge started a company        12· · mean, agreement on what percentage he gets and what
13· · that now owns that website, correct?                       13· · percentage he's paid back from the sale of that, just
14· · · · ·A· · I don't know the specifics of who registered     14· · like any affiliate.· You can go start a website and
15· · or how that's being done.· There may be thousands of       15· · sell electric bikes and then they dropship it from the
16· · URLs.· It's a -- it's a -- it's a shopping cart            16· · place that has the electric bikes, whether they're the
17· · platform.                                                  17· · manufacturer or resell themselves.· It's just a
18· · · · ·Q· · Right.· And I'm just trying to confirm that to   18· · standard internet affiliate agreement.
19· · the best of your understanding, Tim Fruge owns whatever    19· · · · ·Q· · Who are the parties to that affiliate
20· · entity controls the website Freeworldoutlet.com,           20· · agreement?
21· · correct?                                                   21· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
22· · · · ·A· · I don't know the specifics of that.              22· · You can answer.
23· · · · ·Q· · Okay.· What is your understanding of Tim         23· · · · ·A· · I'm just being speculative, in general,
24· · Fruge's association with Freeworldoutlet.com?              24· · because I haven't seen the agreements.· I haven't dealt
25· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      25· · with it.· It's just -- it's a standard internet


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·1· · affiliate stuff.· Like you -- like you --                  ·1· · · · ·A· · I haven't seen --
·2· · · · ·Q· · (By Mr. Mattei)· Fair enough.· Who signed        ·2· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·3· · it?                                                        ·3· · You can answer.
·4· · · · ·A· · Like, you can create just a URL that you own,    ·4· · · · ·A· · I haven't seen the specifics, but I would
·5· · which is not the case here, and then you point that URL    ·5· · imagine that agreement is there.
·6· · at a place and then the percentage of sales they get       ·6· · · · ·Q· · (By Mr. Mattei)· Okay.· So your testimony is
·7· · off of that, you get a percentage.· It's just -- it's      ·7· · that you believe that there is a written agreement, but
·8· · just a, you know, pop-up basic shopping cart website       ·8· · that you haven't seen it, is that your testimony?
·9· · deal.                                                      ·9· · · · ·A· · I've not been involved almost at all.
10· · · · ·Q· · And who paid for the -- well, let me, before I   10· · · · ·Q· · Okay.
11· · get there.· So you indicated there's an affiliate          11· · · · ·A· · Other than plugging it on air to see if it got
12· · agreement.· There is an agreement between you and          12· · any traction and to see if it got good customer
13· · Mr. Fruge as to what percentage he retains versus what     13· · reviews, which it's gotten -- gotten -- we've gotten
14· · percentage he sends onto you.· I want to know who are      14· · good feedback.
15· · the parties to that agreement?                             15· · · · ·Q· · But I need -- I need an answer to my question.
16· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      16· · · · ·A· · Yeah.
17· · You can answer.                                            17· · · · ·Q· · My question is, is it your testimony that you
18· · · · ·A· · I -- I wasn't involved in that.· It's -- it's    18· · believe there's a written agreement, but that you,
19· · purely speculative stuff he's done that I've agreed to     19· · yourself, haven't seen it?
20· · work with him on.· It's not been very successful, quite    20· · · · ·A· · Yes, that's my testimony.
21· · frankly.· So I haven't even been focused on it at all      21· · · · ·Q· · And so I take it that you believe Mr. Fruge is
22· · until now.                                                 22· · a signatory to that agreement, but you don't know who
23· · · · ·Q· · (By Mr. Mattei)· Is your testimony that you      23· · may have signed on the Infowars side; is that
24· · don't know who the parties are to the -- what you've       24· · correct?
25· · described as an affiliate agreement?                       25· · · · ·A· · Yes --

                                                   Page 828                                                         Page 830
·1· · · · ·A· · No, I've known Tim for 16 years.· And he -- he   ·1· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·2· · went to work in Illinois, didn't like that.· Then he       ·2· · You can answer.
·3· · went to work in Utah, didn't like that.· He said, can I    ·3· · · · ·A· · -- I mean, I don't know, that's what I just
·4· · come back and at least see how things work out?· Yeah.     ·4· · told you.
·5· · And then he came back for a while and he said, listen,     ·5· · · · ·Q· · (By Mr. Mattei)· Okay.· You didn't sign
·6· · I want to go out and do a whole bunch of companies. I      ·6· · anything?
·7· · know he's done a bunch of separate stuff for me.· And I    ·7· · · · ·A· · Not that I remember, no.
·8· · just said to him, I said, I hope those things become       ·8· · · · ·Q· · All right.· What about the website
·9· · successful, because there's been a lack of sponsors,       ·9· · PreparewithAlex.com?
10· · none of them have really been that successful yet,         10· · · · ·A· · That is a URL that points at a third-party
11· · where they're just straight sponsors, which I'd like       11· · website that then fulfills and sells food and then pays
12· · him to be successful at that.                              12· · us an agreed percentage back.
13· · · · · · · · · · · · And then he also, you know, had an     13· · · · ·Q· · Okay.· The third party -- the website that it
14· · idea of -- for several websites that he thought he         14· · points to is Preparetoday.com, right?
15· · could then market out there and, again, you know, get      15· · · · ·A· · Yes.
16· · around deplatforming so that we could, you know, sell      16· · · · ·Q· · So anybody on the internet can either go to
17· · product and would be beneficial to all of us.· And so      17· · PreparewithAlex.com or Preparetoday.com and there,
18· · that's where that is, but I know Tim.· He's my friend.     18· · storable food is sold, correct?
19· · I haven't -- I haven't been involved in basically any      19· · · · ·A· · Yes.
20· · of it.                                                     20· · · · ·Q· · Okay.· Who owns the URL PreparewithAlex.com?
21· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, I'm just asking      21· · · · ·A· · I think I do.· I'm not sure actually.
22· · you whether you know who the parties are to the            22· · · · ·Q· · Okay.· Is it fair to say that you believe
23· · affiliate agreement governing the relationship between     23· · either you own it personally or a company you control
24· · Freeworldoutlet.com and any companies that you             24· · owns it?
25· · control?                                                   25· · · · · · · · · · · · MR. ATKINSON:· Objection to form.


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·1· · You can answer.                                            ·1· · · · ·Q· · Right.· But those -- those are your suppliers,
·2· · · · ·A· · I don't know who owns it.                        ·2· · correct?
·3· · · · ·Q· · (By Mr. Mattei)· Who owns Preparetoday.com?      ·3· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·4· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·4· · You can answer.
·5· · You can answer.                                            ·5· · · · ·A· · No, those are -- those are -- those are Tim's
·6· · · · ·A· · I don't know.                                    ·6· · suppliers.
·7· · · · ·Q· · (By Mr. Mattei)· Okay.· You know that you        ·7· · · · ·Q· · (By Mr. Mattei)· Okay.· It's your testimony
·8· · are -- you personally have some affiliation with those     ·8· · that Mr. Fruge, upon starting these websites, went out
·9· · websites, correct?                                         ·9· · and independently got suppliers to sell food on those
10· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      10· · websites?
11· · You can answer.                                            11· · · · ·A· · Yeah, that's where he went to work --
12· · · · ·A· · It's an affiliate agreement.                     12· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
13· · · · ·Q· · (By Mr. Mattei)· Okay.                           13· · · · ·A· · -- and that's where he quit his job and went
14· · · · ·A· · Yes.                                             14· · to work, yeah.
15· · · · ·Q· · And do you know anybody associated with          15· · · · ·Q· · (By Mr. Mattei)· They're also your -- you sell
16· · PreparewithAlex.com?                                       16· · storable food on Infowarsstore.com, correct?
17· · · · ·A· · Yes.                                             17· · · · ·A· · Not anymore.
18· · · · ·Q· · Who?                                             18· · · · ·Q· · All of the storable food that you previously
19· · · · ·A· · Tim Fruge.                                       19· · sold is now being sold on those websites?
20· · · · ·Q· · And what about Preparetoday.com, Tim Fruge is    20· · · · ·A· · Yes.
21· · also associated with that website?                         21· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
22· · · · ·A· · Yes, PreparewithAlex.com is a redirect URL to    22· · You can answer.
23· · Preparetoday.com.                                          23· · · · ·Q· · (By Mr. Mattei)· And when did you make that
24· · · · ·Q· · And when were those websites created?            24· · decision?
25· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      25· · · · ·A· · Several years ago we decided to try to just

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·1· · You can answer.                                            ·1· · completely do it through a third party, so there would
·2· · · · ·A· · I don't -- two years ago, PreparewithAlex.com.   ·2· · be better customer service and things.· And then we
·3· · I mean, three years ago.· I don't remember.· And the       ·3· · recently went back to not selling storable food on
·4· · other one, I don't know.                                   ·4· · Infowars.
·5· · · · ·Q· · (By Mr. Mattei)· Okay.· So PreparewithAlex.com   ·5· · · · ·Q· · Yeah.· So when did you recently decide not to
·6· · was started two to three years ago, correct?               ·6· · sell storable food on Infowars?
·7· · · · ·A· · Yes.                                             ·7· · · · ·A· · A few months ago.
·8· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·8· · · · ·Q· · And why did you do that?
·9· · You can answer.                                            ·9· · · · ·A· · Because we lost our credit with the company,
10· · · · ·Q· · (By Mr. Mattei)· That was a "yes"?               10· · because we don't have the money to buy the food anymore
11· · · · ·A· · Yes.                                             11· · ourselves.
12· · · · ·Q· · And Preparetoday.com, you're not sure when       12· · · · ·Q· · So who's -- who's purchasing the food now?
13· · that started?                                              13· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
14· · · · ·A· · It's just another -- it's a -- it's a --         14· · You can answer.
15· · called a click funnel to measure where the customers       15· · · · ·A· · It's a pure affiliate agreement now.
16· · came from.                                                 16· · · · ·Q· · (By Mr. Mattei)· What percentage of sales
17· · · · ·Q· · Okay.· But you don't know when it was            17· · occurring on PreparewithAlex.com do you get?
18· · started?                                                   18· · · · ·A· · It varies from product to product.· I don't
19· · · · ·A· · No.                                              19· · have it in front of me, but it could be as low as 20
20· · · · ·Q· · Okay.· Other than Mr. Fruge, do you know         20· · percent, as high as 50 percent.
21· · anybody else who is associated with                        21· · · · ·Q· · And that's all part of the affiliate
22· · PreparewithAlex.com?                                       22· · agreement?
23· · · · ·A· · Well, there's the suppliers that are on there.   23· · · · ·A· · And it's paid to Infowars, yes -- or Free
24· · Yeah, they -- they -- they dropship the -- the             24· · Speech.
25· · product.                                                   25· · · · ·Q· · So your testimony is that any proceeds from


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·1· · sales occurring over Freeworldoutlet.com,                  ·1· · agreement where it's food, where somebody else is
·2· · PreparewithAlex.com and Preparetoday.com are routed to     ·2· · running that, and then they -- that -- that -- those
·3· · Free Speech Systems?                                       ·3· · separate companies fulfill it and then pay the money
·4· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·4· · into Tim.· Tim gets a percentage.· And then we get a
·5· · You can answer.                                            ·5· · percentage.
·6· · · · ·A· · Can you say that again?                          ·6· · · · ·Q· · Okay.· So is it -- is it your understanding
·7· · · · ·Q· · (By Mr. Mattei)· Sure.· I understand that Free   ·7· · that the products that are sold on those three
·8· · Speech Systems gets a percentage of all sales occurring    ·8· · websites, some of those transactions are fulfilled by
·9· · over those three websites I just mentioned --              ·9· · you, correct?
10· · · · ·A· · Yes.                                             10· · · · ·A· · Freeworldoutlet is, yeah.
11· · · · ·Q· · -- am I correct about that?                      11· · · · ·Q· · Okay.· So let's just stick with
12· · · · ·A· · Yes.                                             12· · Freeworldoutlet for a minute.· Every product sold over
13· · · · ·Q· · Okay.· And so whatever percentage of those       13· · the Freeworldoutlet platform is fulfilled by you,
14· · sales, Free Speech Systems gets, those proceeds are        14· · correct?
15· · routed into Free Speech Systems' accounts, correct?        15· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
16· · · · ·A· · Yes.                                             16· · You can answer.
17· · · · ·Q· · Has Free Speech Systems ever invested any        17· · · · ·A· · I'm not sure about that.· No, because Tim has
18· · money in those three websites I've mentioned or any of     18· · his own stuff he's selling, so no, I'm not -- I'm
19· · the companies that control them?                           19· · not -- I can't answer that.
20· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      20· · · · ·Q· · (By Mr. Mattei)· Okay.· You believe --
21· · You can answer.                                            21· · · · ·A· · He -- he runs that.· See, we don't deal with
22· · · · ·A· · Say that again?                                  22· · that.
23· · · · ·Q· · (By Mr. Mattei)· Has Free Speech Systems ever    23· · · · ·Q· · Well, but you just testified that for
24· · invested any money in those three websites I just          24· · Freeworldoutlet.com --
25· · mentioned or any of the companies that control them?       25· · · · ·A· · They sell some of our products and then we

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·1· · · · · · · · · · · · MR. ATKINSON:· Same objection.         ·1· · fulfill them, yes.
·2· · · · ·A· · I don't believe so.                              ·2· · · · ·Q· · Okay.· They sell some of your products and
·3· · · · ·Q· · (By Mr. Mattei)· Have you personally invested    ·3· · fulfill them.· And when you say you fulfill them,
·4· · any money in any of those three websites I just            ·4· · you're referring to PQPR Holding, LLC, correct?
·5· · mentioned --                                               ·5· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·6· · · · · · · · · · · · MR. ATKINSON:· The same.               ·6· · · · ·A· · I'd have to look at -- I would have to look at
·7· · · · ·Q· · (By Mr. Mattei)· -- or any of the companies      ·7· · --
·8· · that control them?                                         ·8· · · · · · · · · · · · MR. ATKINSON:· Hang on a second,
·9· · · · · · · · · · · · MR. ATKINSON:· Same objection.         ·9· · Alex.· I'm going to advise you not to answer any
10· · · · ·A· · I mean, not technically.· I mean, you could --   10· · questions involving PQPR.· And I'm going to put on the
11· · you could say, like -- like, we fulfill most of the        11· · record that it is our understanding that the plaintiffs
12· · stuff off of Freeworldoutlet, but it's not -- the sales    12· · have joined a fraudulent transfer action in Texas last
13· · aren't very -- it's very small.· And so you could say      13· · week.· Having Mr. Jones answer questions pertaining to
14· · by agreeing to do that it's an investment to take that     14· · the companies in that action, which includes PQPR,
15· · customer on, but there's not any investment of money by    15· · without the Texas counsel defending that action being
16· · me into that.                                              16· · present, would be prejudicial to Mr. Jones.· And as
17· · · · ·Q· · (By Mr. Mattei)· Okay.· So what you were just    17· · such, we're not going to -- we're -- I'm advising you
18· · referring to there is, if you have a product in your       18· · not to answer questions as they pertain to PQPR.
19· · inventory that is purchased over one of these three        19· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, let me just
20· · websites, you will fulfill that order, correct?            20· · confirm, your counsel has advised you not to answer any
21· · · · ·A· · Yeah, they will pay us the money and then        21· · questions relating to PQPR Holdings, LLC.· Do you
22· · we'll fulfill the order and they get -- and they get       22· · intend to decline to answer any questions I ask you on
23· · their percent and then we get our percent.· That's --      23· · that subject?
24· · that's us -- like an affiliate agreement where it's        24· · · · ·A· · Yes.
25· · going through us and then there's the other affiliate      25· · · · · · · · · · · · MR. MATTEI:· And, Attorney Atkinson,


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·1· · the basis for that instruction to Mr. Jones is that you    ·1· · · · · · · · · · · · THE WITNESS:· Can we take a break?
·2· · believe it would be prejudicial to PQPR Holdings not to    ·2· · How long is this going to go?· Because I believe it was
·3· · have its attorney present?                                 ·3· · two hours maximum and I have been here an hour and 50
·4· · · · · · · · · · · · MR. ATKINSON:· No, to Mr. Jones,       ·4· · minutes.
·5· · that the lawyer defending him in the Texas action, he      ·5· · · · · · · · · · · · MR. ATKINSON:· Do you need a break,
·6· · would be in the best position to advise him as to his      ·6· · Mr. Jones?
·7· · interest in defending that action, is not present.         ·7· · · · · · · · · · · · THE WITNESS:· No, I don't really
·8· · We've had no notice in terms of Mr. Jones' notice of       ·8· · need a break.· I've just got something -- I mean, I've
·9· · deposition that this would be on -- this would be part     ·9· · already sat two days in Connecticut and I'm sitting
10· · of his deposition.                                         10· · here again.· I mean, I've heard this is not heard of
11· · · · · · · · · · · · Additionally, I've allowed plenty of   11· · everywhere else, you know, like, in two years.· It's
12· · leeway today for you to go outside the scope of            12· · like a prison sentence or --
13· · Attorney Cerame's direct.· My understanding is that you    13· · · · · · · · · · · · MR. ATKINSON:· Well, hold on, we
14· · rested -- that you rested your deposition of Mr. Jones     14· · can -- we can discuss that off the record, if you wish.
15· · the last time we convened.· I would also object that       15· · I'd advise you not to get into that on the record.
16· · this is outside the scope of Mr. Cerame's direct and I     16· · · · · · · · · · · · THE WITNESS:· Okay.
17· · stand on that.                                             17· · · · ·Q· · (By Mr. Mattei)· All right.
18· · · · · · · · · · · · MR. MATTEI:· Okay.· Well, a couple     18· · · · · · · · · · · · THE WITNESS:· Well, let me just do
19· · of things, you may want to talk to Attorney Pattis,        19· · this, let me give you a call and I'm going to ask you
20· · because I've had multiple conversations with Attorney      20· · about this, because -- let's take a break, if we can,
21· · Pattis that have gone on up to today, in which I           21· · while they talk to the Judge or whatever.· Does that
22· · advised him that PQPR was going to be a subject of         22· · work for you, Mattei?
23· · inquiry.· No arrangements apparently have been made to     23· · · · · · · · · · · · MR. MATTEI:· Five minutes.· We can
24· · have Mr. Jones' Texas counsel present for this             24· · take five minutes, yeah.
25· · deposition, despite that notice.                           25· · · · · · · · · · · · MR. ATKINSON:· Sounds good.

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·1· · · · · · · · · · · · I will say that Attorney Cerame,       ·1· · · · · · · · · · · · THE VIDEOGRAPHER:· We are off the
·2· · although limited in his cross, did inquire about PQPR      ·2· · record at 11:00 o'clock.· End of Media 2.
·3· · Holdings.· And so questions about PQPR are within the      ·3· · · · · · ·(A recess was taken from 11:00 to 11:08.)
·4· · scope.                                                     ·4· · · · · · · · · · · · THE VIDEOGRAPHER:· We are on the
·5· · · · · · · · · · · · I would also indicate that there are   ·5· · record at 11:08.· Start of Media 3.
·6· · other defendants in the TUFTA action that I have asked     ·6· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, does -- everybody
·7· · about today that have not been objected to by you.· So     ·7· · ready, we're good?
·8· · this appears to be a selective objection solely with       ·8· · · · · · · · · · · · MR. ATKINSON:· Yes.
·9· · respect to PQPR, not, for example, with respect to the     ·9· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, does Free Speech
10· · other defendants in the TUFTA action.                      10· · Systems pay for the use of the Infowars.com website?
11· · · · · · · · · · · · So I think what we have to do,         11· · · · ·A· · I don't know.· I don't think so.
12· · because this is going to be a significant issue, is        12· · · · ·Q· · Okay.· Does Free Speech Systems license in any
13· · either get Judge Bellis on the phone right now, because    13· · way the Infowars.com website?
14· · this, I think, is an improper instruction to your          14· · · · ·A· · I don't know.
15· · client under the Connecticut Rules, and -- and see if      15· · · · ·Q· · What?
16· · we can get a ruling.                                       16· · · · ·A· · I don't know.
17· · · · · · · · · · · · MR. ATKINSON:· I'm -- I'm happy to     17· · · · ·Q· · Does Free Speech Systems license any Infowars
18· · get her on the phone.                                      18· · branding property?
19· · · · · · · · · · · · MR. MATTEI:· Okay.· I'll ask my --     19· · · · ·A· · I don't know.
20· · my staff to contact Attorney Ferraro, copying all          20· · · · ·Q· · Prior to -- when did you first set up
21· · attorneys.                                                 21· · cryptocurrency donation pages linked to Infowars.com?
22· · · · · · · · · · · · MR. ATKINSON:· Thank you.              22· · · · ·A· · I don't remember the exact time.
23· · · · · · · · · · · · MR. MATTEI:· And in the meantime, I    23· · · · ·Q· · Does about April of 2021 sound right?
24· · will move on from PQPR.                                    24· · · · ·A· · It sounds right.
25· · · · ·Q· · (By Mr. Mattei)· All right.                      25· · · · ·Q· · Prior to accepting cryptocurrency donations on


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·1· · Infowars.com, did you have any personal cryptocurrency    ·1· · there.
·2· · holdings?                                                 ·2· · · · ·Q· · The transactions are public, but who is
·3· · · · ·A· · No.                                             ·3· · authorized to execute the transactions are limited to
·4· · · · ·Q· · Okay.· Who set up the cryptocurrency donation   ·4· · people who have access to the wallets, correct?
·5· · pages?                                                    ·5· · · · ·A· · Yeah, so I have to -- I mean, I go in and I do
·6· · · · · · · · · · · · MR. ATKINSON:· Objection to form.     ·6· · it.
·7· · You can answer.                                           ·7· · · · ·Q· · Okay.· So you personally execute the
·8· · · · ·A· · I instructed IT to create a -- a donation       ·8· · transactions within each of those wallets linked to the
·9· · page.                                                     ·9· · Infowars.com page, correct?
10· · · · ·Q· · (By Mr. Mattei)· Why did you do that?           10· · · · ·A· · I mean, I -- I mean, I go in there and then
11· · · · ·A· · To get donations.                               11· · they explain it to me and I do it, yeah.
12· · · · ·Q· · You previously expressed public skepticism of   12· · · · ·Q· · Okay.· And you're in charge as to when to
13· · cryptocurrency as an asset, correct?                      13· · withdraw any cryptocurrency from those wallets,
14· · · · ·A· · I mean, we've -- we've looked at all sides of   14· · correct?
15· · it.· I've been supportive of some of it, not supportive   15· · · · ·A· · Yes.
16· · of some of them.· I think some of them are legitimate     16· · · · ·Q· · Okay.· Nobody else has authority to dispose of
17· · and I think some aren't.· And I've been learning about    17· · the cryptocurrency assets in any of those wallets,
18· · it over the last 12 years since it developed as a         18· · correct?
19· · phenomenon.                                               19· · · · ·A· · No.
20· · · · ·Q· · Okay.· Do you pay --                            20· · · · ·Q· · Beginning of -- on April 23rd of this year,
21· · · · ·A· · That's technology.                              21· · one of the wallets linked -- one of the cryptocurrency
22· · · · ·Q· · Do you pay any employees in cryptocurrency?     22· · wallets linked to Infowars.com started receiving large
23· · · · ·A· · No.                                             23· · donations of cryptocurrency from a single source,
24· · · · ·Q· · What -- do you know what exchange you use to    24· · correct?
25· · exchange cryptocurrency for actual currency?              25· · · · ·A· · Yes -- well, there were other donations,

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·1· · · · ·A· · I'm not -- I really don't understand a lot of   ·1· · too.
·2· · it, but I think we use a -- Coinbase.                     ·2· · · · ·Q· · I'm sorry?
·3· · · · ·Q· · How many cryptocurrency wallets are currently   ·3· · · · ·A· · Can you ask your question again?
·4· · linked to the Infowars.com donation page?                 ·4· · · · ·Q· · Sure.· Well, I think you've answered it. I
·5· · · · ·A· · I don't -- I don't know the specifics.          ·5· · was asking what you said.
·6· · They're all linked right there.· It's all public.         ·6· · · · · · · · · · · · MR. ATKINSON:· Would it be helpful
·7· · · · ·Q· · Okay.· Who manages that for you?                ·7· · for the court reporter to read it back, Chris?
·8· · · · ·A· · The IT department.                              ·8· · · · · · · · · · · · MR. MATTEI:· No, no, I think I have
·9· · · · ·Q· · Okay.· Which is who?                            ·9· · the answer.· I'm just -- oh, yeah, I'd be happy to have
10· · · · ·A· · I mean, right now, it's -- it's basically       10· · her read back his answer.· Yes.· Thank you.
11· · myself and Zimmerman.· He's a consultant.· I don't        11· · · · · · · · · · · · THE WITNESS:· I don't need them to
12· · really understand it.· But I'm the person that manages    12· · do that.· The point is he said a single source.· We
13· · it because I'm -- I mean, I've told them to set it up     13· · got -- there was quite a few of Bitcoin donations.
14· · and -- that --                                            14· · · · · · · · · · · · THE COURT REPORTER:· Do you want me
15· · · · ·Q· · Okay.· So you have access to those crypto       15· · to read it back?
16· · wallets, correct, personal access?                        16· · · · · · · · · · · · MR. MATTEI:· Yeah, thank you.
17· · · · ·A· · Yes.                                            17· · · · · · · · (Requested portion was read back.)
18· · · · ·Q· · And so does Zimmerman, correct?                 18· · · · ·Q· · (By Mr. Mattei)· So you know that I'm
19· · · · ·A· · Yes.                                            19· · referring to the single donor who donated over a
20· · · · ·Q· · Anybody else?                                   20· · million dollars in Bitcoin on April 23rd, correct?
21· · · · ·A· · I don't know the specifics of the technicals,   21· · · · ·A· · Yes.
22· · but it's like three people -- or you have to put like     22· · · · ·Q· · Okay.· And then there was another donation of
23· · three codes in.· I've only messed with it a few times.    23· · just over a million dollars on April 30th from the same
24· · It's -- all of the transactions are public, that's what   24· · donor, correct?
25· · the blockchain does, I know that.· So it's all right      25· · · · ·A· · Yes.


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·1· · · · ·Q· · And there was another donation on May 19th of    ·1· · personal bank account, how much have you transferred
·2· · about $5.9 million worth of Bitcoin from that same         ·2· · into Free Speech Systems?
·3· · donor, correct?                                            ·3· · · · ·A· · I don't have the exact accounting in front of
·4· · · · ·A· · We believe it's the same donor.· We don't        ·4· · me, but an example is, some has gone directly into Free
·5· · know.                                                      ·5· · Speech Systems, other has gone directly into legal
·6· · · · ·Q· · Okay.· Well, according to the identifying data   ·6· · bills, but the things, generally, you know, dealing
·7· · on the donor's wallet, it's the same wallet, correct?      ·7· · with the operation of the company.
·8· · · · ·A· · I believe so.· I don't have it in front of       ·8· · · · ·Q· · Well, you testified that you took a little bit
·9· · me.                                                        ·9· · more than half, right?· So you would say over --
10· · · · ·Q· · And your testimony is that you don't know the    10· · · · ·A· · I think it's a lot -- I don't have the numbers
11· · identity of the individual responsible for those           11· · in front of me, but it's -- in fact, I was going to go
12· · donations?                                                 12· · today after this and try to do the accounting on that
13· · · · ·A· · I do not.                                        13· · specifics, because I want to know that.· Unfortunately,
14· · · · ·Q· · Okay.· Do you know anybody who does?             14· · we didn't transfer all of it out of Bitcoin.· And
15· · · · ·A· · No.                                              15· · Bitcoin has crashed, so that's not good.
16· · · · ·Q· · Have you had any communication with anybody      16· · · · ·Q· · All right.· So you transferred about $4
17· · representing themselves to be the donor?                   17· · million out from the crypto wallet to your personal
18· · · · ·A· · No.                                              18· · account after these donations were received, correct?
19· · · · ·Q· · And you cashed out about half of the Bitcoin     19· · · · ·A· · I don't have the numbers in front of me, but I
20· · donated by that individual, correct?                       20· · think it's more than that.
21· · · · ·A· · Yes.                                             21· · · · ·Q· · Okay.· Is it -- is it more than 5 million?
22· · · · ·Q· · And you did that personally, correct?            22· · · · ·A· · It had already gone down so --
23· · · · ·A· · Yes.                                             23· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
24· · · · ·Q· · And where did those --                           24· · You can answer.
25· · · · ·A· · I don't have it in front of me, but it's more    25· · · · ·A· · I don't have the specifics.

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·1· · than half.                                                 ·1· · · · ·Q· · (By Mr. Mattei)· Okay.· You're -- and I'm not
·2· · · · ·Q· · And what did you do with those proceeds once     ·2· · holding you to a precise amount here, Mr. Jones, but
·3· · you converted it to actual currency?                       ·3· · your testimony is that you believe that following the
·4· · · · ·A· · I put it into a personal bank account of mine    ·4· · May 19th donation from what appears to be a single
·5· · and then I've transferred most of it to -- and am still    ·5· · crypto donor, you executed a transaction withdrawing
·6· · transferring it to Free Speech Systems as a capital        ·6· · between 4 and $5 million from that wallet to your
·7· · injection.                                                 ·7· · personal bank account, correct?
·8· · · · ·Q· · And so you -- you said you have transferred      ·8· · · · ·A· · Yes.
·9· · and you are continuing to transfer those proceeds into     ·9· · · · ·Q· · Okay.· And now I'm asking you, how much of
10· · Free Speech Systems as a capital investment in Free        10· · that 4 to $5 million, roughly, have you transferred
11· · Speech Systems?                                            11· · into Free Speech Systems?
12· · · · ·A· · I don't know the technical term for it, but I    12· · · · ·A· · I don't have the numbers in front of me.
13· · am -- I intend to -- to -- to spend it -- to continue      13· · · · ·Q· · So the answer is you don't know?
14· · Free Speech's mission of promoting freedom and             14· · · · ·A· · Well, do I have your permission to go
15· · populism, because that's what I have seen the donations    15· · speculate here, like it won't be 100 percent.· I don't
16· · give as.· I don't know that -- I don't know why it was     16· · have the exact numbers here in front of me.
17· · given, but we were -- we've been asking for donations      17· · · · ·Q· · I'm just trying to get a sense of, to the
18· · to keep the company going.· So it's my intent to use       18· · extent that you have a reasonable basis to estimate,
19· · the lion share of it to continue the operation.            19· · that's fine.· I don't want you to just pull a number
20· · · · ·Q· · And you have not yet done that, correct?         20· · out of thin air and you have no idea.· If you have a
21· · · · ·A· · No, I -- I've begun to do it.· I -- it --        21· · reasonable basis to estimate how much you have
22· · it's -- most of it is being transferred -- has been        22· · reinvested in Free Speech Systems, please give that
23· · transferred already into there.                            23· · answer.
24· · · · ·Q· · Okay.· Well, let's just be clear, okay?· Of      24· · · · ·A· · Well, I don't know about the term reinvested.
25· · the money that you cashed out and directed to your         25· · It's just a capital, you know, injection to the


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·1· · company.· It's -- it's -- some company bills have been     ·1· · · · ·Q· · Okay.
·2· · directly out of my bank account, my private bank           ·2· · · · ·A· · I'm sure they'll give it to you, they give you
·3· · account, just for expediency.· Instead of just             ·3· · everything else, you can put it on TV and say anything.
·4· · transferring it into Free Speech Systems and having        ·4· · I'm surprised you guys haven't gotten stool samples.
·5· · that, but more than 2 million has been transferred into    ·5· · It's ridiculous.
·6· · Free Speech Systems and paid out for back bills.· And      ·6· · · · ·Q· · Other than the $344,000 payment you claim to
·7· · then others has gone to legal bills.· And then other       ·7· · have made yesterday associated with the bankruptcy,
·8· · has gone to buy product so that we have product to         ·8· · have you made any other payments from your personal
·9· · sell.                                                      ·9· · account since May of this year on behalf of Free Speech
10· · · · · · · · · · · · And it's my intent to do that with     10· · Systems?
11· · basically all of the funds.· I may keep some to            11· · · · ·A· · I believe so.· Like I told you, I don't have
12· · reimburse myself for past -- because I'm paid              12· · it in front of me.
13· · privately, but my intent is to currently spend about 90    13· · · · ·Q· · Prior to -- are you familiar with a company
14· · percent of it in -- into keeping Free Speech afloat        14· · called Swan Bitcoin?
15· · and -- and --                                              15· · · · ·A· · Yes.
16· · · · ·Q· · As it stands right now, I understand your        16· · · · ·Q· · What is Swan Bitcoin?
17· · testimony to be that as of today you estimate that         17· · · · ·A· · It's like a Bitcoin processing wallet or -- I
18· · about 2 million of the cryptocurrency proceeds that you    18· · don't know how to describe it.· It's one of the more
19· · cashed out, you have injected into Free Speech Systems,    19· · reputable Bitcoin exchange systems.
20· · correct?                                                   20· · · · ·Q· · Okay.· And you have promoted, on your show,
21· · · · ·A· · No.· If memory serves, over 2 million directly   21· · Swan Bitcoin to your audience, correct?
22· · into Free Speech Systems.· And then I've been paying       22· · · · ·A· · Yes.
23· · other substantive bills for Free Speech Systems            23· · · · ·Q· · And you get a percentage of the revenue to
24· · directly out of my private account.                        24· · Swan Bitcoin of any new sign-ups, correct?
25· · · · ·Q· · I'm -- I'm leaving out the bills for a minute.   25· · · · ·A· · It's an affiliate program.· Of any new

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·1· · I'm just talking about direct transfer of money from       ·1· · sign-ups that we -- that we sent -- that we sent.
·2· · your personal account to Free Speech Systems comprised     ·2· · · · ·Q· · Right.· So you -- you promote Swan Bitcoin on
·3· · of the cryptocurrency proceeds, that your testimony is     ·3· · your show, if people sign up with Swan Bitcoin who are
·4· · that that amounts to approximately $2 million,             ·4· · audience members of yours, you get a cut of that
·5· · correct?                                                   ·5· · sign-up fee, correct?
·6· · · · ·A· · I think it's approaching 3 million.              ·6· · · · ·A· · Yeah, I think it's like a percent, one percent
·7· · · · ·Q· · Okay.· Fair enough.· And then you claim that     ·7· · or less or something, I forget.
·8· · you also used cash within your personal account, since     ·8· · · · ·Q· · And do you disclose to your audience that you
·9· · May of this year, to pay Free Speech Systems' bills; is    ·9· · profit from them signing up when you've promoted Swan
10· · that right?                                                10· · Bitcoin?
11· · · · ·A· · Yeah, we paid a $344,000 bill for the            11· · · · ·A· · Yeah, that's the whole point of it.· It's like
12· · bankruptcy yesterday out of it, out of my personal         12· · Swanbitcoin.com/Alex.
13· · account, that's an example.                                13· · · · ·Q· · So you disclose to your audience that you
14· · · · ·Q· · Okay.· A $344,000 bill for the bankruptcy        14· · receive a cut of when they sign up?
15· · associated with what?                                      15· · · · ·A· · Yeah, we tell them go do it there because it
16· · · · ·A· · I mean, I just do my show and you guys -- just   16· · supports us as a sponsor.
17· · a big, long war you got going on, so...                    17· · · · ·Q· · And who is your contact at Swan Bitcoin?
18· · · · ·Q· · Okay.· Well, you just -- you just testified      18· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
19· · that you paid $344,000 yesterday.· What did you think      19· · You can answer.
20· · you were paying for?                                       20· · · · ·A· · I don't remember.· We went and signed up with
21· · · · ·A· · Paying for things associated with the            21· · them.· And I actually sat there with them on the phone.
22· · bankruptcy.                                                22· · It was relatively easy and they created the link.
23· · · · ·Q· · Who was the payee?                               23· · · · ·Q· · Is that Max Keiser?
24· · · · ·A· · It was a -- it was a long list.· It was a long   24· · · · ·A· · No, Max Keiser is a talk show host that
25· · bill.                                                      25· · promotes Bitcoin and he -- he got me -- he got me in


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·1· · touch with the Bitcoin people at Swan.                     ·1· · can go look at it right now.
·2· · · · ·Q· · Okay.· So Mr. Keiser put you in touch with the   ·2· · · · ·Q· · Well, I was trying.· And what you're
·3· · people at Swan Bitcoin, correct?                           ·3· · describing isn't coming up for me, so that's why I'm
·4· · · · ·A· · Yes.                                             ·4· · asking you these questions, but -- well, I'll represent
·5· · · · ·Q· · And does he also have an affiliate agreement     ·5· · to you, Mr. Jones, if I go to SaveInfowars.com, it
·6· · with Swan Bitcoin, do you know?                            ·6· · brings me to a SaveInfowarsmoneybomb, the official Save
·7· · · · ·A· · I don't know.                                    ·7· · Infowars Money Bomb site, which is separate from the
·8· · · · ·Q· · In 2021, did you withdraw cryptocurrency from    ·8· · Save Infowars Legal Defense Fund on GiveSendGo.
·9· · the wallets you control?                                   ·9· · · · · · · · · · · · And so I'm just wondering if you
10· · · · ·A· · I don't remember.                                10· · know why that might be?
11· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      11· · · · ·A· · I would have to speculate to one of the
12· · You can answer.                                            12· · fundraisers.· Somebody in my office decided to redirect
13· · · · ·A· · I don't remember.                                13· · that URL at that site, because we weren't promoting the
14· · · · ·Q· · (By Mr. Mattei)· During the course of this       14· · other site anymore.
15· · litigation, you sent -- you set up a GiveSendGo website    15· · · · ·Q· · All right.
16· · called SaveInfowars.com, correct?                          16· · · · · · · · · · · · MR. MATTEI:· Counsel, it's my
17· · · · ·A· · Yes.                                             17· · understanding that my office has contacted the Court to
18· · · · ·Q· · How much money has been generated from that      18· · get the Judge's intervention on this PQPR issue.· We've
19· · website?                                                   19· · not yet heard back.· So -- but I understand that
20· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      20· · Attorney Ferraro, the Judge's clerk, is working on
21· · You can answer.                                            21· · setting something up.· So I think that, you know, at
22· · · · ·A· · I don't remember the exact number.· It's --      22· · this point, we will take a break and we will wait to
23· · it's on the website.· You can see it.                      23· · hear from the Court.
24· · · · ·Q· · (By Mr. Mattei)· Is -- SaveInfowars.com is the   24· · · · · · · · · · · · Mr. Jones, you're going to have to
25· · same website as Infowars2022.com?                          25· · stay put until we hear back from when the Court is

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·1· · · · ·A· · It's not a website.· I told you it's a link      ·1· · going to address this today.
·2· · click funnel that goes to GiveSendGo.· It's a redirect     ·2· · · · · · · · · · · · MR. ATKINSON:· Okay.· Did Ron say
·3· · link.                                                      ·3· · whether it was going to be telephonic or were we going
·4· · · · ·Q· · It's the Save Infowars Legal Defense Fund,       ·4· · to have a full-fledged Teams hearing, Chris?
·5· · correct?                                                   ·5· · · · · · · · · · · · MR. MATTEI:· He did not.· I don't
·6· · · · ·A· · Yes.                                             ·6· · know the answer to that.
·7· · · · ·Q· · And proceeds from those donations are routed     ·7· · · · · · · · · · · · MR. ATKINSON:· Okay.
·8· · to where?                                                  ·8· · · · · · · · · · · · THE WITNESS:· I mean, I --
·9· · · · ·A· · I've directed the accountant -- it's -- it's     ·9· · · · · · · · · · · · MR. ATKINSON:· Alex, let's talk off
10· · directed and put into a ledger spent on legal bills.       10· · the record.· And, I guess, Chris, you have the floor,
11· · · · ·Q· · Is that Robert Roe who you directed to do        11· · do you have any more questions for Mr. Jones at this
12· · that?                                                      12· · point?
13· · · · ·A· · Yes.                                             13· · · · · · · · · · · · MR. MATTEI:· If I do, they're very
14· · · · ·Q· · So it's your understanding that a specific       14· · few, so normally what I would do right now is just take
15· · ledger within Free Speech Systems' books and records       15· · five minutes to review my notes and come back and
16· · was set up to receive the proceeds of any donations        16· · finish up.
17· · over the GiveSendGo website to be used exclusively for     17· · · · · · · · · · · · MR. ATKINSON:· Well, let's do that
18· · legal bills?                                               18· · then.· And, I guess, if Attorney Cerame has any more
19· · · · ·A· · Yeah.                                            19· · questions, he -- we can get them in too and then I
20· · · · ·Q· · But you don't know how much has been taken in,   20· · would suggest we break for lunch, if possible.
21· · correct?                                                   21· · · · · · · · · · · · THE WITNESS:· I mean, are we talking
22· · · · ·A· · On all of the different Crowdfunding Sites, it   22· · about me waiting until 5:00 at night to see what the
23· · shows the amounts.· I don't know.· It's 380,000, 340.      23· · Judge says?· Just living here.
24· · I haven't looked.· I don't remember.· It was like          24· · · · · · · · · · · · MR. MATTEI:· We'll take five
25· · 340,000 something the last time I looked at it.· You       25· · minutes.


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·1· · · · · · · · · · · · MR. ATKINSON:· Let's take five         ·1· · · · ·Q· · (By Mr. Mattei)· All right.· Mr. Jones, we
·2· · minutes off.                                               ·2· · presented the issue raised by your attorney to the
·3· · · · · · · · · · · · THE VIDEOGRAPHER:· We are off the      ·3· · Court.· The Court has overruled his objection and
·4· · record at 11:33.· End of Media 3.                          ·4· · instructed that you answer questions concerning PQPR
·5· · · · · · ·(A recess was taken from 11:33 to 11:39.)         ·5· · Holdings Limited, LLC, that is the remaining area of
·6· · · · · · · · · · · · THE VIDEOGRAPHER:· We are back on      ·6· · question that I'm going to continue on now.· Do you
·7· · the record at 11:39.· Start of Media 4.                    ·7· · understand that?
·8· · · · · · · · · · · · MR. MATTEI:· Okay.· Other than the     ·8· · · · ·A· · Yes.
·9· · questions that I've reserved as to PQPR, I don't have      ·9· · · · · · · · · · · · MR. ATKINSON:· I'll confirm that as
10· · any further questions in my redirect.· At this time,       10· · well, for the record.· Mr. Jones, you are to answer,
11· · I've been informed, my office has been informed, that      11· · all right?
12· · Judge Bellis will conduct a Teams hearing on Mr. Jones'    12· · · · ·Q· · (By Mr. Mattei)· The first question that I had
13· · objection at 3:00 o'clock today.                           13· · asked you about with respect to PQPR was the extent to
14· · · · · · · · · · · · MR. ATKINSON:· Okay.· I guess,         14· · which it was selling products on Freeworldoutlet.com.
15· · Attorney Cerame, do you have any further questions?        15· · And I believe that your -- your testimony is that PQPR
16· · · · · · · · · · · · MR. MATTEI:· Mario, are you there?     16· · does offer products for sale on Freeworldoutlet.com,
17· · You're muted.                                              17· · correct?
18· · · · · · · · · · · · MR. ATKINSON:· All right.· I guess,    18· · · · ·A· · It's a very small test company.· I don't
19· · he's the smarter of us, Chris, he took an early lunch.     19· · really know the specifics.· I just trusted Tim with
20· · · · · · · · · · · · THE WITNESS:· Does that mean I need    20· · whatever he did.· I haven't had a chance to talk to him
21· · to come back here at 2:00 o'clock Central?                 21· · about it.
22· · · · · · · · · · · · MR. ATKINSON:· We'll let -- we'll      22· · · · ·Q· · Okay.· My question was whether or not PQPR
23· · you know, Alex.· It depends on what the Judge rules.       23· · products are offered for sale on Freeworldoutlet.com?
24· · I'm less -- I'm reluctant to have the discussion           24· · · · ·A· · Yes.
25· · without Attorney Cerame here, but it seems to me that      25· · · · ·Q· · And you have been promoting Freeworldoutlet on

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·1· · 3:00 -- depending on whatever time Judge Bellis takes      ·1· · your Infowars.com website program, correct?
·2· · to resolve the issue, it may be better to come back at     ·2· · · · ·A· · Yes.
·3· · another date, but I'm not sure what your thoughts are      ·3· · · · ·Q· · In fact, over the past number of weeks,
·4· · as to that, Chris, and obviously Mario needs to weigh      ·4· · Freeworldoutlet advertisement has been the landing page
·5· · in on that.                                                ·5· · for Infowars.com at various times, correct?
·6· · · · · · · · · · · · MR. MATTEI:· Yeah, I texted Mario to   ·6· · · · ·A· · I -- I don't understand that statement.
·7· · see if he's not too far, but, you know, I -- I would       ·7· · · · ·Q· · Okay.· You're aware that visitors to
·8· · rather wrap up here today.· I'm sure everybody would.      ·8· · Infowars.com will occasionally be greeted with a pop-up
·9· · So I can't -- you know, if you're saying to me that you    ·9· · ad before being allowed entry to the site?
10· · want to let Mr. Jones go, agree to produce him for the     10· · · · ·A· · Oh, yes.
11· · purpose of addressing any questions that the Court         11· · · · ·Q· · Okay.· And you're aware that over the past
12· · permits, you know, it's your call.                         12· · number of weeks Freeworldoutlet.com has been promoted
13· · · · · · · · · · · · MR. ATKINSON:· Well, let me ask you    13· · on that -- at that particular landing page?
14· · this, without holding you to it, assuming that Judge       14· · · · ·A· · Yeah, I don't call a pop-up a landing page,
15· · Bellis allows you to go into the PQPR issue, how long      15· · but now I understand what you're talking about. A
16· · would you anticipate being on that?                        16· · landing page is the front page of a website, not a
17· · · · · · · · · · · · MR. MATTEI:· No more than an hour.     17· · pop-up.
18· · · · · · · · · · · · MR. ATKINSON:· Okay.· Let me confer    18· · · · ·Q· · Okay.· So you would agree with me then that at
19· · with Mr. Jones and see what works better for him.          19· · least over the past number of weeks, the first thing
20· · · · · · · · · · · · MR. MATTEI:· Okay.                     20· · somebody will see when they visit Infowars.com is a
21· · · · · · · · · · · · THE VIDEOGRAPHER:· We are off the      21· · pop-up ad for Freeworldoutlet.com?
22· · record at 11:42.                                           22· · · · ·A· · No, I do not agree.
23· · · · · · ·(A recess was taken from 11:42 to 2:37.)          23· · · · ·Q· · Okay.· If --
24· · · · · · · · · · · · THE VIDEOGRAPHER:· We are on the       24· · · · ·A· · It's sometimes.· It's a rotating ad.
25· · record at 2:37.                                            25· · · · ·Q· · That's part of the rotating pop-up ads that


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·1· · Infowars.com has run --                                    ·1· · · · ·Q· · And then eventually you set up PQPR to fill
·2· · · · ·A· · Yes.                                             ·2· · that role, correct?
·3· · · · ·Q· · -- over the past number of weeks, correct?       ·3· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·4· · · · ·A· · Yes.                                             ·4· · You can answer.
·5· · · · ·Q· · Are any PQPR products offered for sale on        ·5· · · · ·A· · My dad set up PQPR to do that and then worked
·6· · PreparewithAlex or Preparetoday.com?                       ·6· · with me at Free Speech Systems, yes.
·7· · · · ·A· · No.                                              ·7· · · · ·Q· · (By Mr. Mattei)· Okay.· When you say your dad
·8· · · · ·Q· · Who owns the storable food that are offered      ·8· · set it up, you through your ownership interest in PLJR
·9· · for sale on those websites?                                ·9· · Holdings, LLC, have a -- had at the time it was formed,
10· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      10· · a majority ownership in PQPR Holdings, correct?
11· · You can answer.                                            11· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
12· · · · ·A· · Who owns the food?                               12· · You can answer.
13· · · · ·Q· · (By Mr. Mattei)· Right.                          13· · · · ·A· · I don't remember the specifics.
14· · · · ·A· · Do you mean -- do you mean who is the            14· · · · ·Q· · (By Mr. Mattei)· Is there any doubt in your
15· · manufacturer, who is distributor?                          15· · mind that throughout the entire existence of PQPR, you,
16· · · · ·Q· · No.· Who is the retailer?                        16· · Alex Jones, have had a majority ownership interest,
17· · · · ·A· · Tim Fruge.                                       17· · either directly or indirectly?
18· · · · ·Q· · Okay.· And you get a cut of any sale proceeds    18· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
19· · from those sales?                                          19· · You can answer.
20· · · · ·A· · Yes.                                             20· · · · ·A· · I know that in some structure of the company,
21· · · · ·Q· · When was PQPR Holdings Limited, LLC formed?      21· · I'm -- I've -- I've got a controlling interest, but I'm
22· · · · ·A· · I don't remember.                                22· · not -- I mean, to answer your question, I guess so,
23· · · · ·Q· · Why was it formed?                               23· · yes.
24· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      24· · · · ·Q· · (By Mr. Mattei)· I'm not sure you answered
25· · You can answer.                                            25· · that the way you intended to, Mr. Jones.· So let me ask

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·1· · · · ·A· · It was set up because we talked to a             ·1· · it again.
·2· · supplement -- former FDA lawyers, about the best way to    ·2· · · · · · · · · · · · You'd agree with me that since
·3· · structure a system.· And I was bringing my dad in and      ·3· · PQPR's formation, you, either directly or indirectly,
·4· · wanted to set him up a supplement business, because he     ·4· · have had a controlling majority ownership stake,
·5· · had been involved in some of that before.· I think it's    ·5· · correct?
·6· · like 10 years ago, I'm guessing the date, 10 or 9          ·6· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·7· · years.· I don't remember the exact date.                   ·7· · You can answer.
·8· · · · · · · · · · · · And -- and so it's -- just like each   ·8· · · · ·A· · Yes.
·9· · new venture you generally -- when you're working with      ·9· · · · ·Q· · (By Mr. Mattei)· Do you recall, Mr. Jones, in
10· · people and have a new company.· And so for liability       10· · connection with your divorce from Kelly Jones that you
11· · protection issues, you know, it's good to have a -- a      11· · had a valuation conducted of Free Speech Systems and
12· · separate company that then does all of the compliance,     12· · PQPR?
13· · buys the products, does all of that.· So that's what       13· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
14· · was set up for.                                            14· · You can answer.
15· · · · ·Q· · (By Mr. Mattei)· Had you been involved in the    15· · · · ·A· · I do.
16· · business of direct sales of supplements prior to           16· · · · ·Q· · (By Mr. Mattei)· And that valuation was
17· · forming PQPR?                                              17· · conducted for use in connection with your divorce,
18· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      18· · correct?
19· · You can answer.                                            19· · · · ·A· · Yes.
20· · · · ·A· · Yes.                                             20· · · · ·Q· · Do you know if that valuation was presented to
21· · · · ·Q· · (By Mr. Mattei)· Through what entity?            21· · the court presiding over your divorce?
22· · · · ·A· · We -- we bought in bulk some other people's      22· · · · ·A· · I think it was.
23· · products and sold them through Free Speech Systems.        23· · · · ·Q· · Okay.· Mr. Jones, I'm going to show you what
24· · · · ·Q· · Free Speech Systems did that?                    24· · we've marked as Exhibit 185.· And showing you Page 1.
25· · · · ·A· · Uh-huh.                                          25· · Do you have before you the valuation that was conducted


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·1· · by UHY Advisors in connection with your divorce?           ·1· · · · ·Q· · Did you just say that PQPR is not a big profit
·2· · · · ·A· · Yes.                                             ·2· · center for you?
·3· · · · ·Q· · Going to Page 13 of that document.· It           ·3· · · · ·A· · No, what's left in it isn't.· I don't -- I
·4· · indicates that PQPR Holdings Limited, LLC was founded      ·4· · don't -- put it to you this way.· That's probably the
·5· · by you in 2013, correct?                                   ·5· · first time I ever looked at that document you showed
·6· · · · ·A· · Yes.                                             ·6· · me.· When I walk out of here today, I'm going to be
·7· · · · ·Q· · And you provided the initial funding for PQPR    ·7· · happy as a little blue bird flying around, not thinking
·8· · using your own assets and those of Free Speech Systems,    ·8· · about any of this.
·9· · correct?                                                   ·9· · · · ·Q· · So what did you mean when you said that PQPR
10· · · · ·A· · I need to read the whole thing here.· I don't    10· · is not a big profit center for you?
11· · see that.                                                  11· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
12· · · · ·Q· · Do you see in the second sentence, The           12· · You can answer.
13· · business began operations in September 2013 with           13· · · · ·A· · Honestly, the supplements are the majority of
14· · significant operational and financial support from         14· · the money we make, but as for what's going on over
15· · Mr. Alex Jones and Free Speech Systems.· Do you see        15· · there and you guys' theories on all of this stuff that
16· · that?                                                      16· · there's all this extra money, that's just not true.
17· · · · ·A· · Uh-huh.                                          17· · · · ·Q· · (By Mr. Mattei)· Okay.· And how do -- how do
18· · · · ·Q· · Is that accurate?                                18· · you know that?
19· · · · ·A· · Yes.                                             19· · · · ·A· · You guys have been all over the news saying
20· · · · ·Q· · And do you see, according to this valuation,     20· · that, that you've joined the lawsuit in Texas.
21· · PLJR Holdings, LLC had an 80 percent membership            21· · · · ·Q· · How do you know -- how do you know that -- I
22· · interest in PQPR, correct?                                 22· · think you just testified that the majority of the money
23· · · · ·A· · Yes.                                             23· · you make comes through the sales of supplements,
24· · · · ·Q· · And that you are the 90 percent membership       24· · right?
25· · interest owner in PLJR, correct?                           25· · · · ·A· · Yeah.

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·1· · · · ·A· · Uh-huh.· Yes.                                    ·1· · · · ·Q· · Okay.· But you also said that it's not a very
·2· · · · ·Q· · Yes?· At some point did that ownership           ·2· · big profit center, so I'm just asking you what your
·3· · structure of PQPR change?                                  ·3· · basis is for that testimony?
·4· · · · ·A· · I don't remember.· I didn't keep track of it.    ·4· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·5· · Can you show me a document?                                ·5· · You can answer.
·6· · · · ·Q· · As you sit here right now, you have no           ·6· · · · ·A· · Because the majority of the money gets paid
·7· · recollection of whether PLJR Holdings, LLC, which          ·7· · back to Infowars for advertising and all of the rest of
·8· · you're a 90 percent owner, continues to own the            ·8· · that -- of the profit.
·9· · majority of PQPR?                                          ·9· · · · ·Q· · (By Mr. Mattei)· Okay.· So your testimony is
10· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      10· · that the majority of money that PQPR makes from the
11· · You can answer.                                            11· · sale of supplements, it then reverts back to Free
12· · · · ·A· · No, I haven't looked at the documents.           12· · Speech Systems to pay for advertising, correct?
13· · · · ·Q· · (By Mr. Mattei)· No, I know you haven't looked   13· · · · ·A· · Yeah --
14· · at the documents.· I'm just asking you whether you know    14· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
15· · based on your own personal knowledge of what you own?      15· · You can answer.
16· · · · ·A· · No, the company just buys the products.· It's    16· · · · ·Q· · (By Mr. Mattei)· Is that correct?
17· · not -- it's not a big profit center.· I don't pay          17· · · · ·A· · Well, here's the thing.· I shouldn't even
18· · attention to it.                                           18· · speculate or try to be helpful.· It doesn't matter.
19· · · · ·Q· · What's not a big profit center now?              19· · Just make up whatever you want.· Just keep going.
20· · · · ·A· · I mean, the majority of the money gets spent     20· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, you're the owner
21· · running the operations at Free Speech Systems and          21· · of Free Speech Systems, correct?
22· · advertising and stuff.· I'm saying I've not looked at      22· · · · ·A· · Yes.
23· · it.· I've not looked at that document.· I don't think I    23· · · · ·Q· · Okay.· You just testified that the profits
24· · even looked at that document back during the divorce       24· · made by PQPR are sent back to Free Speech Systems to
25· · you just showed me.                                        25· · pay for advertising; did you not?


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·1· · · · ·A· · A large portion of it.· I don't have it in       ·1· · up.
·2· · front of me, so I can't speak to it.                       ·2· · · · ·Q· · Well, it was set back -- it was set up in
·3· · · · ·Q· · Okay.· So a large portion is sent back in the    ·3· · 2013, right?
·4· · form of advertising?                                       ·4· · · · ·A· · I don't remember all of this, that's what I'm
·5· · · · ·A· · Uh-huh.                                          ·5· · telling you, so...
·6· · · · ·Q· · Okay.· Are you familiar with an entity called    ·6· · · · ·Q· · Yeah.· So I mean, you obviously, Mr. Jones,
·7· · AEJ Holdings?                                              ·7· · are aware of people in your life who you have gotten
·8· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·8· · involved in your business to assist you, correct?
·9· · You can answer.                                            ·9· · · · ·A· · Sure.
10· · · · ·A· · I mean, I -- I don't pay attention to all of     10· · · · ·Q· · Okay.· So who, among those people, do you
11· · that, the business details.· I've heard of it.· I don't    11· · believe would be most knowledgeable of your interest in
12· · know what it does.                                         12· · PQPR?
13· · · · ·Q· · (By Mr. Mattei)· You don't know whether you      13· · · · ·A· · I think it would be the lawyers that set up
14· · own it?                                                    14· · the stuff, because I haven't paid attention to it since
15· · · · ·A· · I'm sure you've got -- can you show me the       15· · then.
16· · documents?                                                 16· · · · ·Q· · Are you aware of whether PQPR is owed any
17· · · · ·Q· · No, I'm asking you a question --                 17· · money?
18· · · · ·A· · I don't remember.                                18· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
19· · · · ·Q· · -- do you know?                                  19· · You can answer.
20· · · · ·A· · Show me the documents.                           20· · · · ·A· · Yeah, it is -- it is my dad's position that
21· · · · ·Q· · I want to know what you know, Mr. Jones,         21· · it's owed money, uh-huh.
22· · okay?                                                      22· · · · ·Q· · (By Mr. Mattei)· How do you know that it's
23· · · · ·A· · I don't -- I don't know -- I don't know what     23· · your father's position that PQPR is owed money?
24· · it does.                                                   24· · · · ·A· · Because that's what he argues.
25· · · · ·Q· · I didn't ask you what it does.· I asked you      25· · · · ·Q· · So he's told you that?

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·1· · whether you are aware if you're an owner or not.· Are      ·1· · · · ·A· · Yep.
·2· · you?                                                       ·2· · · · ·Q· · Who does he say owes PQPR money?
·3· · · · ·A· · I don't know.                                    ·3· · · · ·A· · Free Speech Systems.
·4· · · · ·Q· · Okay.· Are you familiar with an entity called    ·4· · · · ·Q· · Do you agree with that?
·5· · AEJ Trust 2018?                                            ·5· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·6· · · · ·A· · I've heard of it, and I'm not sure what it       ·6· · You can answer.
·7· · does.                                                      ·7· · · · ·A· · I mean, yes, according to the agreement, he
·8· · · · ·Q· · Are you aware of whether your children have      ·8· · was supposed to get a bigger percent, but Infowars and
·9· · any interest in the AEJ Trust 2018?                        ·9· · Free Speech Systems has needed the vast majority of it
10· · · · ·A· · I don't.                                         10· · to keep operating it, so I've -- I've tried to
11· · · · ·Q· · Okay.· Do you derive -- since 2018.· Let me      11· · renegotiate it and he hasn't renegotiated with me,
12· · ask it this way.                                           12· · so -- but -- so that's -- that's currently the
13· · · · · · · · · · · · Since 2018, have you derived any       13· · agreement we have that he's owed money.· And so...
14· · personal income as a result of any ownership interest      14· · · · ·Q· · (By Mr. Mattei)· Is there a written agreement
15· · you have, either directly or indirectly in PQPR?           15· · that you're aware of setting up the relationship
16· · · · ·A· · I think I have -- I think I've been paid         16· · between Free Speech Systems and PQPR?
17· · money.· I don't remember.· I don't have it in front of     17· · · · ·A· · I believe there is.
18· · me.                                                        18· · · · ·Q· · And you expect that that's an agreement you
19· · · · ·Q· · Who would be in the best position to answer      19· · would have signed at least on behalf of Free Speech
20· · questions about your interest in PQPR?                     20· · Systems, correct?
21· · · · ·A· · Today, sitting here, I'm not sure who would be   21· · · · ·A· · I would imagine so.
22· · the best.                                                  22· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
23· · · · ·Q· · Okay.· Well, you must have some idea of who      23· · You can answer.
24· · would be more knowledge about it than you, correct?        24· · · · ·Q· · (By Mr. Mattei)· I think your answer was you
25· · · · ·A· · Yeah, maybe one of the lawyers that set it       25· · would imagine so?


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·1· · · · ·A· · Yeah.                                            ·1· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·2· · · · ·Q· · Where would that agreement be located?           ·2· · You can answer.
·3· · · · ·A· · I don't know.· I would have to ask my dad or     ·3· · · · ·A· · No, I mean, I don't -- I mean, I agree that
·4· · somebody -- my lawyers.                                    ·4· · that's the deal.· I'm not happy about it, but we had an
·5· · · · ·Q· · Has your father ever informed you that there     ·5· · agreement.
·6· · were efforts to subpoena him in connection with this       ·6· · · · ·Q· · (By Mr. Mattei)· And I guess what I'm trying
·7· · case?                                                      ·7· · to understand is, what is -- what is your understanding
·8· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·8· · of that agreement, that is, what is it that Free Speech
·9· · You can answer.                                            ·9· · Systems was obliged to pay PQPR for under that
10· · · · ·A· · I think he did, because he travels quite a bit   10· · agreement?
11· · and he actually lives in east Texas most of the time on    11· · · · ·A· · The percentages of what -- the percentage
12· · our ranch.· He -- he did tell me about that a few          12· · of -- the percentage of profit tacked onto what the
13· · months ago.                                                13· · product cost is -- is the main thing.· I mean, because
14· · · · ·Q· · (By Mr. Mattei)· Okay.· And did he tell you      14· · the last four years of litigation, we've been, like, at
15· · that he's attempting to evade service of the               15· · a stalemate.· And basically, all of the money that
16· · subpoena?                                                  16· · comes in that's extra is spent on this.· Then -- then
17· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      17· · that's basically -- there's not, you know, extra money
18· · You can answer.                                            18· · to -- to fulfill the contract.
19· · · · ·A· · No, he didn't tell me that.                      19· · · · ·Q· · I see.· So -- so that debt started accruing
20· · · · ·Q· · (By Mr. Mattei)· Where -- where in east Texas    20· · around 2018 when --
21· · is that ranch?                                             21· · · · ·A· · You know what, I think there was some there
22· · · · ·A· · It -- I'd say it's closest to like Buffalo,      22· · before, but it was accelerating, yeah, which I
23· · Texas.· I don't have the address, but it's -- it's in      23· · understand the point of this lawsuit is to shut down
24· · east Texas.                                                24· · Free Speech and bankrupt us, but the point is, there's
25· · · · ·Q· · Do you own any part of that ranch?               25· · no pot of gold at end of the rainbow here with you

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·1· · · · ·A· · No, I don't.                                     ·1· · guys, I guess until the Judge makes the orders or
·2· · · · ·Q· · That's your father's?                            ·2· · whatever.
·3· · · · ·A· · Yeah, it's a couple hundred years old, so it     ·3· · · · ·Q· · I just want to make sure I understand it.
·4· · might -- it'll predate your lawsuit.                       ·4· · Your testimony is that while Free Speech Systems might
·5· · · · ·Q· · And you said that's out near Buffalo?            ·5· · have owed some money to PQPR prior to 2018, the large
·6· · · · ·A· · Uh-huh.                                          ·6· · majority of what Mr. David Jones claims it is owed
·7· · · · ·Q· · How much money does your father claim Free       ·7· · accrued after the filing of this lawsuit?
·8· · Speech Systems owes PQPR?                                  ·8· · · · ·A· · That's my best understanding.· I don't have
·9· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·9· · the numbers in front of me.· I just know we've had more
10· · You can answer.                                            10· · trouble in the last four years, you know, under the
11· · · · ·A· · I -- it's $20-plus million the last time I saw   11· · burden of -- of this.· So that was really what my
12· · it.                                                        12· · statement is.
13· · · · ·Q· · (By Mr. Mattei)· And do you know what he         13· · · · ·Q· · And I understand from your testimony that you
14· · believes comprises that debt?                              14· · believe what Free Speech Systems -- strike that.
15· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      15· · · · · · · · · · · · I understand from your testimony
16· · You can answer.                                            16· · that you believe that David Jones is claiming that
17· · · · ·A· · I don't know what comprises the debt means.      17· · under PQPR's agreement with Free Speech Systems, Free
18· · · · ·Q· · (By Mr. Mattei)· What does Free Speech Systems   18· · Speech Systems was supposed to send a percentage of
19· · owe PQPR money for, according to him?                      19· · sale proceeds to PQPR?
20· · · · ·A· · I -- I think the percentage is close together.   20· · · · ·A· · Yeah, I forget the exact agreement.· You'd
21· · I mean, all I know is there's not enough money to pay      21· · have to -- I forget the exact agreement.· The point is
22· · for it.· Certainly hadn't been lately, the last four       22· · is it's not being paid under what the agreement is.
23· · years or so.                                               23· · · · ·Q· · Right.· And I'm just trying to figure out
24· · · · ·Q· · Okay.· Is it -- is it Free Speech Systems'       24· · what's not being paid.· I take it that you -- it's a
25· · position that it doesn't owe money to PQPR currently?      25· · percentage of the sale proceeds that PQPR claims it was


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·1· · owed --                                                    ·1· · · · · · · · · · · · MR. MATTEI:· Actually, I just have a
·2· · · · ·A· · I don't know.· It's something -- I don't         ·2· · couple more minutes, Cameron, if we can just --
·3· · remember.· In fact, I shouldn't even -- I'm just trying    ·3· · · · · · · · · · · · MR. ATKINSON:· Go ahead.
·4· · to be helpful, but I just don't remember.                  ·4· · · · · · · · · · · · MR. MATTEI:· You got -- what's that?
·5· · · · ·Q· · Has Free Speech Systems always charged PQPR to   ·5· · · · · · · · · · · · MR. ATKINSON:· I said go ahead, did
·6· · advertise on its platforms?                                ·6· · we freeze?
·7· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·7· · · · · · · · · · · · MR. MATTEI:· Okay.
·8· · You can answer.                                            ·8· · · · · · · · · ·(Exhibit No. 179 was marked.)
·9· · · · ·A· · Yes, as far as I can remember.                   ·9· · · · ·Q· · (By Mr. Mattei)· We renoticed -- this is going
10· · · · ·Q· · (By Mr. Mattei)· And has Free Speech Systems     10· · to be whatever the next exhibit in sequence is.· Okay.
11· · always required PQPR to pay for other services that        11· · You have a notice of continued deposition directing
12· · Free Speech Systems provides, including personnel?         12· · your appearance for today, correct?
13· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      13· · · · ·A· · Yes.
14· · You can answer.                                            14· · · · ·Q· · All right.· And I will represent to you that
15· · · · ·A· · I don't remember.                                15· · this includes a Schedule A, Request for Documents that
16· · · · ·Q· · (By Mr. Mattei)· Does Free Speech Systems        16· · was included in the original notice of deposition as
17· · require and has it -- strike that.                         17· · well.· And I'm going to direct your attention to
18· · · · · · · · · · · · Has Free Speech Systems always         18· · Request No. 6, Any and all contracts, memoranda of
19· · required PQPR to pay for fulfillment services?             19· · understanding, agreements, certificates of debt and/or
20· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      20· · notes concerning the relationship between any of the
21· · You can answer.                                            21· · following:· Free Speech Systems, LLC and PQPR Holdings
22· · · · ·A· · I -- I don't -- I don't know the particulars     22· · Limited, LLC.· Do you see that?
23· · what you're talking about.                                 23· · · · ·A· · Yes.
24· · · · ·Q· · (By Mr. Mattei)· It sounds like David Jones,     24· · · · ·Q· · And I'll represent to you that your lawyers
25· · as far as you're concerned, would be the person most       25· · objected to producing any documents in response to that

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·1· · knowledgeable to testify about the relationship between    ·1· · request, which the Court overruled.
·2· · PQPR and Financial -- Free Speech Systems?                 ·2· · · · · · · · · · · · Did you produce any documents
·3· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·3· · described in that request relating to the relationship
·4· · You can answer.                                            ·4· · between Free Speech Systems and PQPR?
·5· · · · ·A· · No, I think it would be the lawyers that set     ·5· · · · ·A· · Didn't the Court just overrule it like 30
·6· · up the agreement, because they could explain how it        ·6· · minutes ago?
·7· · works for you better.                                      ·7· · · · ·Q· · No, the Court overruled it like months ago.
·8· · · · ·Q· · (By Mr. Mattei)· Well, you signed the            ·8· · · · ·A· · Well -- yeah, I wasn't really told anything
·9· · agreement, didn't you?                                     ·9· · about any of this, so -- I mean, you guys already got a
10· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      10· · default on a claim that we never gave you any
11· · You can answer.                                            11· · documents, so we could give you every ounce of blood in
12· · · · ·A· · Can you show me a copy of it?· I -- I'm          12· · my body and you'd say you weren't given anything.
13· · just --                                                    13· · · · ·Q· · Do you have any reason to believe that we were
14· · · · ·Q· · (By Mr. Mattei)· You know what, Mr. Jones, we    14· · given a copy of the agreement you've been describing?
15· · asked for it.· And it hasn't been provided.                15· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
16· · · · · · · · · · · · MR. ATKINSON:· Hang on.· Hang on a     16· · You can answer.
17· · second, Chris, that's abusiveness to the witness.· It's    17· · · · ·A· · You know, like I said, that was over 10 years
18· · argumentative.· Ask the question, please.                  18· · ago.· I mean, you're sitting here asking me about all
19· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, you -- I asked you   19· · of this stuff, so -- I mean, I just don't know what to
20· · during the first deposition we had here in Connecticut     20· · say.· I thought I was here about Genesis Communications
21· · about a notice of deposition requiring you to produce      21· · today.· And -- and you say you were done like a few
22· · certain records in connection with your deposition.        22· · months ago in your office.· There was one hour left for
23· · And I will ask you about that here in a minute.            23· · Mario.· I wanted to finish it that day, but I guess
24· · · · · · · · · · · · MR. ATKINSON:· While you're pulling    24· · that isn't what this was.· I'm not a lawyer, so you --
25· · that up, Chris, can we take a quick break?                 25· · you got me, man.· I'm not as slick as folks up there in


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·1· · Connecticut.                                               ·1· · about, goes back 10 years?
·2· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, I asked you          ·2· · · · ·A· · I believe it does, yeah.
·3· · whether you have any reason to believe that a copy of      ·3· · · · ·Q· · Other than you, who within Free Speech
·4· · the agreement you've been describing between Free          ·4· · Systems, is most knowledgeable about its relationship
·5· · Speech Systems and PQPR was produced in this case?         ·5· · with PQPR?
·6· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      ·6· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
·7· · · · ·A· · I don't know.                                    ·7· · You can answer.
·8· · · · · · · · · · · · MR. ATKINSON:· You can answer.         ·8· · · · ·A· · I mean, Free Speech Systems is -- buys the
·9· · · · ·A· · I don't know.                                    ·9· · product from them.· We got the percentages and stuff we
10· · · · ·Q· · (By Mr. Mattei)· I think in responding to that   10· · pay, and that's what goes on and it pays advertising.
11· · question you said that it was 10 years old.· Is it your    11· · So I would have to say the agreements or the lawyers
12· · testimony that the agreement goes back to about 10         12· · that set it up would be the best people to talk to
13· · years?                                                     13· · about that, because, again, like I said, you showed me
14· · · · ·A· · Man, I don't even know -- listen, I don't know   14· · that divorce document, I never even read that -- I
15· · what you're talking about.· And it just gets weirder       15· · mean, I read it today.
16· · and weirder.· So, I mean, I've answered your questions     16· · · · ·Q· · (By Mr. Mattei)· But I'm asking about current
17· · the best I can.· You're sitting there asking me about a    17· · employees of Free Speech Systems, who, other than you,
18· · bunch of stuff I didn't know I was going to be asked       18· · would be knowledgeable about the relationship between
19· · about.· I learned yesterday you were going to ask me       19· · Free Speech Systems and PQPR?
20· · about PQPR and stuff.· I've been straight up about what    20· · · · ·A· · I mean, you've got the books of Free Speech
21· · that is.· You guys are going to be very upset when you     21· · Systems.· You know what's paid in and you know what's
22· · find out there's almost no money in there.                 22· · paid back.· You know all of that.· So, I don't -- I
23· · · · ·Q· · Mr. Jones, the question --                       23· · mean, there is nobody else.
24· · · · ·A· · I was in accounting meetings today trying to     24· · · · ·Q· · Okay.· So your testimony is that of all of the
25· · buy future supplements and the money's not even there      25· · current employees at -- Free Speech Systems current

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·1· · to do it, so...                                            ·1· · employees, you are the most knowledgeable concerning
·2· · · · · · · · · · · · MR. ATKINSON:· Attorney Mattei, if I   ·2· · the relationship between Free Speech Systems and
·3· · can, to assist you, Mr. Jones, please answer the           ·3· · PQPR?
·4· · question as it's directed.                                 ·4· · · · ·A· · Well, Bob Roe is a consultant and I think he's
·5· · · · ·A· · This is it.· I don't know all of this stuff.     ·5· · tried to testify.· He could answer questions a lot
·6· · All of these documents and all of this stuff.· So the      ·6· · better than me.· He actually knows all of this stuff.
·7· · answer is I don't know.· And I try to help him out --      ·7· · · · ·Q· · Okay.· But I just -- I'm going to get to Roe.
·8· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, what is actually     ·8· · · · · · · · · · · · Of Free Speech Systems' current
·9· · happening is you offer some sort of throw-away comment     ·9· · employees, your testimony is that you are the most
10· · which I then ask you about, and then you claim to be       10· · knowledgeable person to testify concerning the
11· · confused.                                                  11· · relationship between Free Speech Systems and PQPR,
12· · · · · · · · · · · · MR. ATKINSON:· And, Chris -- Chris,    12· · correct?
13· · stop.· Chris, stop.· That is not out of line.· Now         13· · · · ·A· · Yeah, because none of them even know anything.
14· · you're arguing with the witness.                           14· · They just run the radio and TV show.· And then
15· · · · · · · · · · · · MR. MATTEI:· No, I'm trying to --      15· · accounting just, under the agreement, pays -- pays
16· · · · · · · · · · · · MR. ATKINSON:· Ask him a question      16· · PQPR.
17· · directly and I will instruct him to answer it.             17· · · · ·Q· · And in terms of outside consultants, and let
18· · · · ·Q· · (By Mr. Mattei)· Mr. Jones, you offered in one   18· · me include in this group the following, okay, David
19· · of your prior responses that the agreement between Free    19· · Jones, Tim Fruge, Robert Dew, Lydia Hernandez, who of
20· · Speech Systems and PQPR goes back 10 years as a way of     20· · those four would be most knowledgeable about the
21· · explaining why you lack knowledge about it.                21· · relationship between PQPR and Free Speech Systems?
22· · · · · · · · · · · · And so now, all I'm trying to get      22· · · · · · · · · · · · MR. ATKINSON:· Objection to form.
23· · you to do is confirm that what you were saying there is    23· · You can answer.
24· · that the agreement governing the relationship between      24· · · · ·A· · I would say David Jones and Lydia Hernandez,
25· · Free Speech Systems and PQPR, which you've testified       25· · just because they can just confirm that the money was


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·1· · transferred.· But the real guy would be Bob --             ·1· · · · · · · (Deposition was concluded at 3:13 p.m.)
·2· · · · ·Q· · (By Mr. Mattei)· You also --                     ·2
·3· · · · ·A· · Huh?                                             ·3
·4· · · · ·Q· · You also mentioned this guy Bob Roe?             ·4
·5· · · · ·A· · Uh-huh.                                          ·5
·6· · · · ·Q· · Okay.· He's an outside CPA that you've used?     ·6
·7· · · · ·A· · Yeah.                                            ·7
·8· · · · ·Q· · What's his current role for either Free Speech   ·8
·9· · Systems or PQPR?                                           ·9
10· · · · ·A· · I mean, he's a consultant, just -- just coming   10
11· · in trying to, you know, respond to all of the stuff.       11
12· · We also had him in there just overlooking kind of what     12
13· · the other CPA's advice was and things like that.           13
14· · · · ·Q· · Okay.· Does he have any current                  14
15· · responsibilities that he's consulting on?                  15
16· · · · ·A· · Yeah, he's a consultant, as I said.              16
17· · · · ·Q· · All right.· What's he working on?                17
18· · · · ·A· · He's working on the books and trying to, you     18
19· · know, put more high-tech practices in.                     19
20· · · · ·Q· · Okay.· How often do you interact with him?       20
21· · · · ·A· · Once a week.                                     21
22· · · · ·Q· · And you said you believe he's been trying to     22
23· · testify?                                                   23
24· · · · · · · · · · · · MR. ATKINSON:· Objection to form.      24
25· · You can answer.                                            25

                                                   Page 888                                                         Page 890
·1· · · · ·A· · Well, that would just be in my opinion, he       ·1· · · · · · · · · · · ·CHANGES AND SIGNATURE
·2· · told me, I remember -- I remember like a year or go or     ·2· · WITNESS NAME:· ALEX JONES
·3· · something he wanted to come testify in Connecticut,        ·3· · DATE OF DEPOSITION:· JUNE 21, 2022
·4· · because some of the things that were being said about      ·4· · PAGE· ·LINE· · · CHANGE· · · · · REASON
·5· · him weren't true.· And then the last time I heard, they    ·5· · ______________________________________________________
                                                                 ·6· · ______________________________________________________
·6· · didn't want him to come up there and testify.· I mean,
                                                                 ·7· · ______________________________________________________
·7· · he is the most knowledgeable.· He is the guy you should
                                                                 ·8· · ______________________________________________________
·8· · talk to.· He's told me he would be happy to be talk to
                                                                 ·9· · ______________________________________________________
·9· · ya.                                                        10· · ______________________________________________________
10· · · · ·Q· · (By Mr. Mattei)· Just give me one second.        11· · ______________________________________________________
11· · · · ·A· · You might as well end this damn deposition in    12· · ______________________________________________________
12· · the middle of a football game it's so loud out there.      13· · ______________________________________________________
13· · Feel like I'm in high school or something with the         14· · ______________________________________________________
14· · doors opening up.                                          15· · ______________________________________________________
15· · · · · · · · · · · · MR. MATTEI:· All right.· Mr. Jones,    16· · ______________________________________________________
16· · I think I'm done.· Attorney Cerame may wish to ask you     17· · ______________________________________________________
17· · some additional questions if he's still there.             18· · ______________________________________________________
18· · · · · · · · · · · · MR. CERAME:· Sorry, I lost my window   19· · ______________________________________________________
                                                                 20· · ______________________________________________________
19· · for a moment.· I have no further questions for
                                                                 21· · · · ·I, ALEX JONES, have read the foregoing deposition
20· · Mr. Jones.
                                                                 · · · and hereby affix my signature that same is true and
21· · · · · · · · · · · · MR. ATKINSON:· And I think we can
                                                                 22· · correct, except as noted above:
22· · declare Mr. Jones' deposition closed.                      23
23· · · · · · · · · · · · THE VIDEOGRAPHER:· We are off the      24· · · · · · · · · · · · · · ·_____________________________
24· · record at 3:13.· This concludes today's deposition and     · · · · · · · · · · · · · · · · ALEX JONES
25· · Media 4.                                                   25


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·1· · THE STATE OF __________ )                                 ·1· · Reporter in and for the State of Texas, hereby certify
·2· · COUNTY OF _____________ )                                 ·2· · to the following:
·3
                                                                ·3· · · · ·That the witness, ALEX JONES, was duly sworn by
·4· · · · ·Before me, ________________________________, on
                                                                ·4· · the officer remotely and that the transcript of the
· · · this day personally appeared ALEX JONES, known to me
·5· · (or proved to me under oath or through                    ·5· · oral deposition is a true record of the testimony given

· · · ____________________) (description of identity card or    ·6· · by the witness;
·6· · other document) to be the person whose name is            ·7· · · · ·That the deposition transcript was submitted on
· · · subscribed to the foregoing instrument and acknowledged
                                                                ·8· · ____________________, 2022 to MR. CAMERON ATKINSON, for
·7· · to me that they executed the same for the purposes and
                                                                ·9· · examination, signature and return to me by
· · · consideration therein expressed.
·8                                                              10· · ________________, 2022.

·9· · · · ·Given under my hand and seal of office this          11· · · · ·That the amount of time used by each party at the
10· · _______ day of ________________, 20__.                    12· · deposition is as follows:
11
                                                                13· · · · · · · MR. CHRISTOPHER MATTEI - 2 hours, 32 minutes
12
                                                                14· · · · · · · MR. MARIO CERAME - 15 minutes
13· · · · · · · · · · · · · · ·_____________________________
· · · · · · · · · · · · · · · ·NOTARY PUBLIC IN AND FOR         15· · · · ·That pursuant to information given to the

14· · · · · · · · · · · · · · ·THE STATE OF ________________    16· · deposition officer at the time said testimony was
15                                                              17· · taken, the following includes counsel for all parties
16
                                                                18· · of record:
17
                                                                19· · · · · · · MR. CHRISTOPHER M. MATTEI, Attorney for
18
19                                                              20· · · · · · · Plaintiff.

20                                                              21· · · · · · · MR. CAMERON ATKINSON, Attorney for Defendant.
21                                                              22· · · · · · · MR. MARIO CERAME, Attorney for Defendant.
22
                                                                23· · · · ·I further certify that I am neither counsel for,
23
                                                                24· · related to, nor employed by any of the parties or
24
25                                                              25· · attorneys in the action in which this proceeding was



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·1· · NO. X-06-UWY-CV-XX-XXXXXXX-S· ·:· SUPERIOR COURT          ·1· · taken, and further that I am not financially or
·2· · ERICA LAFFERTY, ET AL.· · · · ·:· COMPLEX LITIGATION      ·2· · otherwise interested in the outcome of the action.
· · · · · · · · · · · · · · · · · · · · · ·DOCKET               ·3· · · · ·Further certification requirements pursuant to
·3· · · · · · · · · · · · · · · · · ·:                          ·4· · Rule 203 of TRCP will be certified to after they have
·4· · V.· · · · · · · · · · · · · · ·:· AT WATERBURY            ·5· · occurred.
·5· · ALEX EMRIC JONES, ET AL.· · · ·:· OCTOBER 21, 2021        ·6· · · · ·Certified to by me this ______ day of ___________,
·6· · _____________________________________________________     ·7· · A.D., 2022.
·7· · NO. X-06-UWY-CV-XX-XXXXXXX-S· ·:· SUPERIOR COURT          ·8
·8· · WILLIAM SHERLACH· · · · · · · ·:· COMPLEX LITIGATION      ·9
· · · · · · · · · · · · · · · · · · · · · ·DOCKET               10
·9· · · · · · · · · · · · · · · · · ·:                          11
10· · V.· · · · · · · · · · · · · · ·:· AT WATERBURY            12
11· · ALEX EMRIC JONES, ET AL.· · · ·:· OCTOBER 21, 2021        13
12· · _____________________________________________________     14
13· · NO. X-06-UWY-CV-XX-XXXXXXX-S· ·:· SUPERIOR COURT          · · · · · · · · · · · · · _______________________________
14· · WILLIAM SHERLACH, ET AL.· · · ·:· COMPLEX LITIGATION      15· · · · · · · · · · · · VANESSA S. ROBERTSON
· · · · · · · · · · · · · · · · · · · · · ·DOCKET               · · · · · · · · · · · · · TEXAS CSR 4930
15· · · · · · · · · · · · · · · · · ·:                          16· · · · · · · · · · · · EXPIRATION Date: 04/30/2022
16· · V.· · · · · · · · · · · · · · ·:· AT WATERBURY            · · · · · · · · · · · · · FIRM REGISTRATION No. 343
17· · ALEX EMRIC JONES, ET AL.· · · ·:· OCTOBER 21, 2021        17
18                                                              · · · · · · · · · · · · · U.S. LEGAL SUPPORT
19                                                              18· · · · · · · · · · · · 8144 WALNUT HILL LANE
· · · · ___________________________________________________     · · · · · · · · · · · · · SUITE 350
20                                                              19· · · · · · · · · · · · DALLAS, TEXAS 75231
· · · · · · · · · · · ·REPORTER'S CERTIFICATION                 · · · · · · · · · · · · · (214) 741-6001
21· · · · · · · · · · ·DEPOSITION OF ALEX JONES                 20
· · · · · · · · · · · · · · ·JUNE 21, 2022                      21
22· · · · ___________________________________________________   22
23                                                              23
24                                                              24
25· · · · ·I, VANESSA S. ROBERTSON, Certified Shorthand         25



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·1· · · · · · ·FURTHER CERTIFICATION UNDER RULE 203 TRCP
·2· · · · ·The original deposition was/was not returned to
·3· · the deposition officer on ___________________;
·4· · · · ·If returned, the attached Changes and Signature
·5· · page contains any changes and the reasons therefor;
·6· · · · ·If returned, the original deposition was delivered
·7· · to MR. CHRISTOPHER M. MATTEI, Custodial Attorney;
·8· · · · ·That $____________ is the deposition officer's
·9· · charges to the Plaintiff for preparing the original
10· · deposition transcript and any copies of exhibits.
11· · · · ·That the deposition was delivered in accordance
12· · with Rule 203.3, and that a copy of this certificate
13· · was served on all parties shown herein on and filed
14· · with the Clerk.
15· · · · ·Certified to by me this _____ day of _________,
16· · 2022.
17
18
19
20· · · · · · · · · · · · _______________________________
· · · · · · · · · · · · · VANESSA S. ROBERTSON
21· · · · · · · · · · · · TEXAS CSR 4930
· · · · · · · · · · · · · EXPIRATION DATE: 04/30/2022
22· · · · · · · · · · · · FIRM REGISTRATION No. 343
23· · · · · · · · · · · · U.S. LEGAL SUPPORT
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